                Case
     Fill in this       23-01171-eg
                  information to identify your Doc
                                               case:   1   Filed 04/24/23 Entered 04/24/23 10:01:45                             Desc Main
                                                           Document      Page 1 of 70
     United States Bankruptcy Court for the:

     ____________________
     District              District of _________________
              of South Carolina        (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                               Chapter 7
                                                            
                                                            ✔
                                                            
                                                                Chapter 11
                                                                Chapter 12
                                                                                                                                         Check if this is an
                                                               Chapter 13                                                                  amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                         Forrest  Concrete, LLC
                                            ______________________________________________________________________________________________________




2.    All other names debtor used           ______________________________________________________________________________________________________
      in the last 8 years                   ______________________________________________________________________________________________________
                                            ______________________________________________________________________________________________________
      Include any assumed names,
                                            ______________________________________________________________________________________________________
      trade names, and doing business
      as names                              ______________________________________________________________________________________________________




3.    Debtor’s federal Employer             XX-XXXXXXX
                                            ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                      Principal place of business                                 Mailing address, if different from principal place
                                                                                                        of business
                                               79 Mackinlay Way                                         _______________________________________________
                                            ______________________________________________
                                            Number     Street                                           Number     Street

                                            ______________________________________________              _______________________________________________
                                                                                                        P.O. Box

                                               Ridgeland                     SC    29936
                                            ______________________________________________              _______________________________________________
                                            City                        State    ZIP Code               City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Jasper County
                                            ______________________________________________
                                            County                                                      _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)                 www.forrestconcrete.com
                                            ____________________________________________________________________________________________________


6.    Type of debtor                        
                                            ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                             Partnership (excluding LLP)
                                             Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
              Case 23-01171-eg             Doc 1       Filed 04/24/23 Entered 04/24/23 10:01:45                                 Desc Main
                                                       Document      Page 2 of 70
                Forrest Concrete, LLC
Debtor          _______________________________________________________                         Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above



                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            238110
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                              are less than $3,024,725. If this sub-box is selected, attach the most
       A debtor who is a “small business                      recent balance sheet, statement of operations, cash-flow statement, and federal income
       debtor” must check the first sub-                      tax return or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).
       box. A debtor as defined in
       § 1182(1) who elects to proceed                    
                                                          ✔
                                                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
       under subchapter V of chapter 11                       noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
       (whether or not the debtor is a                        Chapter 11. If this sub-box is selected, attach the most recent balance sheet, statement
       “small business debtor”) must                          of operations, cash-flow statement, and federal income tax return, or if
       check the second sub-box.                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                              in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When                __________________
      List all cases. If more than 1,                                                                                         MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________

     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 2
            Case 23-01171-eg                  Doc 1         Filed 04/24/23 Entered 04/24/23 10:01:45                               Desc Main
                                                            Document      Page 3 of 70
              Forrest Concrete, LLC
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this         Check all that apply:
      district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             ✔

                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have           
                                            ✔ No
      possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                Number          Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________         _______     ________________
                                                                                City                                            State       ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name     ____________________________________________________________________

                                                               Phone            ________________________________




            St a t ist ic a l a nd a dm inist ra t ive informa t ion



13.   Debtor’s estimation of                Check one:
      available funds                        Funds will be available for distribution to unsecured creditors.
                                             ✔


                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                             1-49                             1,000-5,000                              25,001-50,000
14.   Estimated number of                    50-99
                                             ✔
                                                                               5,001-10,000                             50,001-100,000
      creditors
                                             100-199                          10,001-25,000                            More than 100,000
                                             200-999

                                             $0-$50,000                       $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                       $50,001-$100,000                 $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                             $100,001-$500,000                $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million
                                             ✔
                                                                               $100,000,001-$500 million                More than $50 billion



  Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
            Case 23-01171-eg                   Doc 1        Filed 04/24/23 Entered 04/24/23 10:01:45                                Desc Main
                                                            Document      Page 4 of 70
               Forrest Concrete, LLC
Debtor         _______________________________________________________                             Case number (if known)_____________________________________
               Name



                                            $0-$50,000                          $1,000,001-$10 million
                                                                                   ✔
                                                                                                                           $500,000,001-$1 billion
16.   Estimated liabilities                 $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                            $100,001-$500,000                   $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million                 $100,000,001-$500 million                More than $50 billion


             Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                                petition.
      debtor
                                               I have been authorized to file this petition on behalf of the debtor.

                                               I have examined the information in this petition and have a reasonable belief that the information is true and
                                                correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.

                                                              04/24/2023
                                                Executed on _________________
                                                            MM / DD / YYYY


                                            /s/ Michael P. Forrest
                                                _____________________________________________               Michael P. Forrest
                                                                                                           _______________________________________________
                                                Signature of authorized representative of debtor           Printed name

                                                       Managing Member
                                                Title _________________________________________




18.   Signature of attorney
                                            /s/ W. Harrison Penn
                                                _____________________________________________              Date         04/24/2023
                                                                                                                        _________________
                                                Signature of attorney for debtor                                        MM   / DD / YYYY



                                                W. Harrison Penn
                                                _________________________________________________________________________________________________
                                                Printed name
                                                McCarthy, Reynolds, & Penn, LLC
                                                _________________________________________________________________________________________________
                                                Firm name
                                                1517 Laurel Street PO Box 11332 (29211)
                                                _________________________________________________________________________________________________
                                                Number     Street
                                                Columbia
                                                ____________________________________________________            SC             29201
                                                                                                               ____________ ______________________________
                                                City                                                           State        ZIP Code

                                                8037718836
                                                ____________________________________                              hpenn@mccarthy-lawfirm.com
                                                                                                               __________________________________________
                                                Contact phone                                                  Email address



                                                District Ct. ID #11164                                          SC
                                                ______________________________________________________ ____________
                                                Bar number                                             State




  Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
                 Case 23-01171-eg                                 Doc 1               Filed 04/24/23 Entered 04/24/23 10:01:45                                                                     Desc Main
                                                                                      Document      Page 5 of 70

 Fill in this information to identify the case:

                Forrest Concrete, LLC
  Debtor name _________________________________________________________________

                                          District of South Carolina
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                     (State)
  Case number (If known):              _________________________


                                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                                          amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                   12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                                    0.00
                                                                                                                                                                                                    $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                          724,975.46
                                                                                                                                                                                                     $ __________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                            724,975.46
                                                                                                                                                                                                     $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                           970,834.85
                                                                                                                                                                                                     $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                           810,894.11
                                                                                                                                                                                                     $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                            +$ __________________
                                                                                                                                                                                                         1,206,183.96



4. Total liabilities ...........................................................................................................................................................................         2,987,912.92
                                                                                                                                                                                                     $ __________________
     Lines 2 + 3a + 3b




  Official Form 206Sum                                        Summary of Assets and Liabilities for Non-Individuals                                                                                        page 1
                Case 23-01171-eg                Doc 1        Filed 04/24/23 Entered 04/24/23 10:01:45                              Desc Main
                                                             Document      Page 6 of 70
      Fill in this information to identify the case:

                    Forrest Concrete, LLC
      Debtor name __________________________________________________________________

                                              District of South Carolina
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                         Check if this is an
      Case number (If known):    _________________________                                                                                   amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                       12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete            Name, telephone number,      Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code      and email address of         (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                              creditor contact             debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                           professional          unliquidated,   total claim amount and deduction for value of
                                                                           services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                           government
                                                                           contracts)
                                                                                                                 Total claim, if    Deduction for       Unsecured
                                                                                                                 partially          value of            claim
                                                                                                                 secured            collateral or
                                                                                                                                    setoff
     Palmetto State Bank                                                 Monies Loaned /
1    194 Bluffton Rd.,                                                   Advanced
                                                                                                                                                      340,669.97
     Bluffton, SC, 29910


     First Bank of Omaha                                                 Credit Card Debt
2    PO Box 3331
                                                                                                                                                      35,433.81
     Omaha, NE, 68103

     Selective Insurance                                                 Liability
3    40 Wantage Avenue                                                   Insurance-Critical
                                                                         Vendor                                                                       34,333.00
     Branchville, NJ, 07890


     US Bank                                                             Credit Card Debt
4    PO Box 790408
                                                                                                                                                      34,023.15
     St. Louis, MO, 63179


     FleetCor Fuelman                                                    Credit Card Debt
5    PO Box 1239
                                                                                                                                                      33,177.29
     Covington, LA, 70434

     Colleton Tile and Concrete, Inc.                                    Suppliers or Vendors
6    PO Box 319
     Walterboro, SC, 29488                                                                                                                            27,216.00


     Truist Card Services                                                Credit Card Debt
7    PO Box 4986
                                                                                                                                                      26,907.97
     Orlando, FL, 32802

     Knights Ready Mix                                                   Suppliers or Vendors
8    PO Box 3408
                                                                                                                                                      24,642.21
     Summerville, SC, 29484




    Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 1
               Case 23-01171-eg                  Doc 1      Filed 04/24/23 Entered 04/24/23 10:01:45                                 Desc Main
                                                            Document      Page 7 of 70
                   Forrest Concrete, LLC
    Debtor        _______________________________________________________                         Case number (if known)_____________________________________
                  Name




     Name of creditor and complete             Name, telephone number,      Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code       and email address of         (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                               creditor contact             debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                            professional           unliquidated,   total claim amount and deduction for value of
                                                                            services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                            government
                                                                            contracts)
                                                                                                                   Total claim, if    Deduction for       Unsecured
                                                                                                                   partially          value of            claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
     Allied Concrete Forming                                              Suppliers or Vendors
9    4413 Republic CT NW
                                                                                                                                                         24,230.00
     Concord, NC, 28027

     Sweet Gravy Trucking                                                 Suppliers or Vendors
10 PO Box 7057
                                                                                                                                                         21,174.29
     Savannah, GA, 31418


     Extended Stay of America                                             Suppliers or Vendors
11 PO Box 49289
                                                                                                                                                         16,847.16
     Charlotte, NC, 28277

     Southern Rebar & Suppliers                                           Suppliers or Vendors
12 4615 Coster Rd.
                                                                                                                                                         14,176.13
     Knoxville, TN, 37912


     Advanced Auto Parts                                                  Suppliers or Vendors
13 PO Box 742063
                                                                                                                                                         13,947.60
     Atlanta, GA, 30374

     SRM Concrete                                                         Suppliers or Vendors
14 1000 Hollingshead Circle
                                                                                                                                                         11,683.52
     Murfreesboro, TN, 37129

     Skufca Law PLLC                                                      ILHS Attorneys
15 1514 S. Church Street
     Suite 101
                                                                                                                                                         11,515.74
     Charlotte, NC, 28203

     June & Associates, CPA                                               CPA Critical Vendor
16 99 Main Street
                                                                                                                                                         11,340.00
     Hilton Head Island, SC, 29926

     Bridgefield/Summit Insurance                                         Workers Comp
17 PO Box 32034                                                           Insurance

     Lakeland, FL, 33802                                                                                                                                 7,737.12


     Great American Finance                                               Equipment Loan
18 408 E Main Street Bldg. #1
     Suite 6                                                                                                                                             7,187.15
     Marshall, MN, 56258

     Tropical Trash                                                       Suppliers or Vendors
19 PO Box 22468
     Hilton Head Island, SC, 29925
                                                                                                                                                         6,377.88


     Espy Lumber Company                                                  Suppliers or Vendors
20 3785 Argent Blvd.
                                                                                                                                                         5,177.22
     Ridgeland, SC, 29936




    Official Form 204                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                 page 2
                Case 23-01171-eg                   Doc 1    Filed 04/24/23 Entered 04/24/23 10:01:45                             Desc Main
                                                            Document      Page 8 of 70
  Fill in this information to identify the case:

               Forrest Concrete, LLC
  Debtor name __________________________________________________________________


  United States Bankruptcy Court for the:_______________________________
                                          District of South Carolina
  Case number (If known):       _________________________                                                                            Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                      12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :     Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

           No. Go to Part 2.
   ✔
            Yes. Fill in the information below.

     All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                  $______________________
                                                                                                                                   0.00

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                Type of account                Last 4 digits of account number
          Palmetto State Bank
    3.1. _________________________________________________  Checking
                                                           ______________________              8
                                                                                               ____    6
                                                                                                      ____    5
                                                                                                             ____   4
                                                                                                                    ____         $______________________
                                                                                                                                   24,248.00
          See continuation sheet
    3.2. _________________________________________________ ______________________              ____ ____ ____ ____                 0.00
                                                                                                                                 $______________________


4. Other cash equivalents (Identify all)
    4.1. _____________________________________________________________________________________________________                   $______________________
    4.2. _____________________________________________________________________________________________________                   $______________________

5. Total of Part 1                                                                                                                  24,248.00
                                                                                                                                  $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :     De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

           No. Go to Part 3.
   ✔
            Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit
          Palmetto Electric
    7.1. ________________________________________________________________________________________________________                 $______________________
                                                                                                                                    300.00
    7.2._________________________________________________________________________________________________________                 $_______________________


   Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                                 page 1
                Case 23-01171-eg                 Doc 1      Filed 04/24/23 Entered 04/24/23 10:01:45 Desc Main
Debtor            Forrest Concrete, LLC                     Document
                 _______________________________________________________  Page 9 of 70
                                                                                    Case number (if known)_____________________________________
                 Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment

    8.1.___________________________________________________________________________________________________________                $______________________
    8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                  $______________________
                                                                                                                                    300.00
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :   Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes. Fill in the information below.
      ✔


                                                                                                                                   Current value of debtor’s
                                                                                                                                   interest
11. Accounts receivable

     11a. 90 days old or less:     17,747.10
                                  ____________________________    17,747.10
                                                               – ___________________________          = ........                 $______________________
                                                                                                                                    0.00
                                    face amount                  doubtful or uncollectible accounts

     11b. Over 90 days old:         679,897.34
                                   ___________________________    255,796.99
                                                               – ___________________________          = ........                 $______________________
                                                                                                                                    424,100.35
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                  $______________________
                                                                                                                                    424,100.35
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :   I nve st me nt s

13. Does the debtor own any investments?
      No. Go to Part 5.
      ✔


      Yes. Fill in the information below.
                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________    $________________________
    14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
    15.1._______________________________________________________________            ________%            _____________________    $________________________
    15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________   $_______________________
    16.2.________________________________________________________________________________                ______________________   $_______________________



17. Total of Part 4
                                                                                                                                  $______________________
     Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                 page 2
              Case 23-01171-eg                 Doc 1        Filed 04/24/23 Entered 04/24/23 10:01:45 Desc Main
                   Forrest Concrete, LLC
Debtor                                                      Document
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                                                                                     70 number (if known)_____________________________________
                  Name




Pa rt 5 :    I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      ✔


      Yes. Fill in the information below.
      General description                               Date of the last         Net book value of        Valuation method used      Current value of
                                                        physical inventory       debtor's interest        for current value          debtor’s interest
                                                                                 (Where available)
19. Raw materials
    ________________________________________                  ______________                                                        $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

20. Work in progress
    ________________________________________                  ______________                                                        $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

21. Finished goods, including goods held for resale
    ________________________________________                  ______________                                                        $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

22. Other inventory or supplies
    ________________________________________                  ______________                                                        $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________


23. Total of Part 5                                                                                                                 $______________________
     Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
           No
           Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

           No
           Yes. Book value _______________          Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
           No
           Yes

Pa rt 6 :    Fa rm ing a nd fishing-re la t e d a sse t s (ot he r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      ✔



      Yes. Fill in the information below.
      General description                                                        Net book value of        Valuation method used      Current value of debtor’s
                                                                                 debtor's interest        for current value          interest
                                                                                 (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________                $________________         ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________                $________________         ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________                $________________         ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________                $________________         ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6
    ______________________________________________________________                $________________         ____________________    $______________________


Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                  page 3
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Debtor
                 Forrest Concrete, LLC                      Document
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                                                                                     70 number (if known)_____________________________________
                Name




33. Total of Part 6.
                                                                                                                               $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

      No
      Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

      No
      Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

      No
      Yes

Pa rt 7 :   Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes. Fill in the information below.
      ✔




    General description                                                          Net book value of    Valuation method          Current value of debtor’s
                                                                                 debtor's interest    used for current value    interest
                                                                                 (Where available)
39. Office furniture
Misc. Office Furniture (desks, chairs, office prints - 3 offices)
                                                                                    1,000.00
                                                                                  $________________    estimate
                                                                                                      ____________________       1,000.00
                                                                                                                               $______________________
40. Office fixtures

                                                                                  $________________   ____________________     $______________________
41. Office equipment, including all computer equipment and
   communication systems equipment and software
Copier, 3 desktop computers, 6 HP monitors, server w/ backup                        2,500.00           estimate                  2,500.00
                                                                                  $________________   ____________________     $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

    42.1___________________________________________________________               $________________    ____________________    $______________________
    42.2___________________________________________________________               $________________    ____________________    $______________________
    42.3___________________________________________________________               $________________    ____________________    $______________________
43. Total of Part 7.
                                                                                                                                 3,500.00
                                                                                                                               $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     
     ✔ No
      Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     
     ✔ No
      Yes
Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                             page 4
             Case 23-01171-eg                Doc 1        Filed 04/24/23 Entered 04/24/23 10:01:45 Desc Main
                  Forrest Concrete, LLC
 Debtor                                                   Document     Page 12 of Case
                 _______________________________________________________           70 number (if known)_____________________________________
                 Name




Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
     
     ✔
       Yes. Fill in the information below.


    General description                                                    Net book value of    Valuation method used    Current value of
                                                                           debtor's interest    for current value        debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          Bobcat E60                                                                             Debtor estimate          50,000.00
    47.1___________________________________________________________         $________________    ____________________   $______________________
          Bobcat T740                                                                            Debtor estimate          30,000.00
    47.2___________________________________________________________         $________________    ____________________   $______________________
          Bobcat T740                                                                            Debtor estimate          35,000.00
    47.3___________________________________________________________         $________________    ____________________   $______________________
          See continuation sheet                                             102,258.99                                   146,327.11
    47.4___________________________________________________________         $________________    ____________________   $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________         $________________     ____________________   $______________________

    48.2__________________________________________________________         $________________     ____________________   $______________________

49. Aircraft and accessories

    49.1__________________________________________________________         $________________     ____________________   $______________________

    49.2__________________________________________________________         $________________     ____________________   $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)
    See continuation sheet
                                                                             0.00                                         11,200.00
    ______________________________________________________________         $________________     ____________________   $______________________


51. Total of Part 8.                                                                                                      272,527.11
                                                                                                                        $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
          No
     
     ✔     Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     
     ✔     No
          Yes




 Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                       page 5
               Case   23-01171-eg
                Forrest Concrete, LLC
                                                  Doc 1        Filed 04/24/23 Entered 04/24/23 10:01:45 Desc Main
 Debtor                                                        Document
                  _______________________________________________________   Page 13 of Case
                                                                                        70 number (if known)_____________________________________
                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
        Yes. Fill in the information below.
       ✔



55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                   Nature and extent      Net book value of     Valuation method used     Current value of
       Include street address or other description such as    of debtor’s interest   debtor's interest     for current value         debtor’s interest
       Assessor Parcel Number (APN), and type of property     in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.
       79 Mackinlay Way Ridgeland SC 29936                     Leasehold interest
55.1
                                                                                                                                      Unknown
                                                                                     $_______________      ____________________      $_____________________

55.2

                                                                                     $_______________      ____________________      $_____________________

55.3

                                                                                     $_______________      ____________________      $_____________________


56. Total of Part 9.                                                                                                                  0.00
                                                                                                                                     $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
       
       ✔    No
           Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
           No
       
       ✔    Yes

Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rty

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
        Yes. Fill in the information below.
       ✔



        General description                                                          Net book value of     Valuation method          Current value of
                                                                                     debtor's interest     used for current value    debtor’s interest
                                                                                     (Where available)
60. Patents, copyrights, trademarks, and trade secrets
       ______________________________________________________________                $_________________     ______________________   $____________________

61. Internet domain names and websites
                                                                                                          estimate                     300.00
    Website Address
    ______________________________________________________________                   $_________________     ______________________    $____________________

62. Licenses, franchises, and royalties
       ______________________________________________________________                $_________________     ______________________    $____________________

63. Customer lists, mailing lists, or other compilations
       ______________________________________________________________                $_________________     ______________________    $____________________

64. Other intangibles, or intellectual property
       ______________________________________________________________                 $________________     _____________________    $____________________
65. Goodwill
       ______________________________________________________________                 $________________     _____________________    $____________________

66. Total of Part 10.                                                                                                                  300.00
                                                                                                                                     $____________________
       Add lines 60 through 65. Copy the total to line 89.




 Official Form 206A/B                                            Schedule A/B: Assets  Real and Personal Property                              page 6
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Debtor            Forrest Concrete, LLC                     Document
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                                                                                     70 number (if known)_____________________________________
                 Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    
    ✔     No
         Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    
    ✔     No
         Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    
    ✔     No
         Yes

Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
          No. Go to Part 12.
     ✔
           Yes. Fill in the information below.
                                                                                                                                      Current value of
                                                                                                                                      debtor’s interest
71. Notes receivable
     Description (include name of obligor)

     ______________________________________________________
                                                                     _______________     –   __________________________         =   $_____________________
                                                                     Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

     _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                   $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
     Forrest Concrete, LLC vs. Cleveland Construction, et al.
    ______________________________________________________________                                                                     Unknown
                                                                                                                                     $_______________________
    Nature of claim                     Breach of Contract
                                       ___________________________________

    Amount requested                     895,840.38
                                       $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
     See continuation sheet
    ______________________________________________________________                                                                     Unknown
                                                                                                                                     $_______________________

    Nature of claim                    ___________________________________

    Amount requested                   $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                    $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                      $_____________________
   ____________________________________________________________                                                                      $_____________________
78. Total of Part 11.
                                                                                                                                       0.00
                                                                                                                                     $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    
    ✔     No
         Yes

Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                   page 7
              Case 23-01171-eg                         Doc 1           Filed 04/24/23 Entered 04/24/23 10:01:45 Desc Main
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Debtor                                                                 Document
                  _______________________________________________________           Page 15 of Case
                                                                                                70 number (if known)_____________________________________
                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                         Current value
                                                                                                    personal property                        of real property
                                                                                                         24,248.00
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_______________

                                                                                                         300.00
81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________

                                                                                                         424,100.35
82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________

                                                                                                         0.00
83. Investments. Copy line 17, Part 4.                                                                 $_______________
                                                                                                         0.00
84. Inventory. Copy line 23, Part 5.                                                                   $_______________
                                                                                                         0.00
85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                         3,500.00
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         272,527.11
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________

                                                                                                                                               0.00
                                                                                                                                             $________________
88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                         300.00
89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $_______________

                                                                                                         0.00
90. All other assets. Copy line 78, Part 11.                                                      +    $_______________

                                                                                                         724,975.46                            0.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           +   91b.
                                                                                                                                             $________________




                                                                  724,975.46                                                                                       724,975.46
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................     $__________________




Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                               page 8
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                Forrest Concrete, LLC                       Document     Page 16 of 70
 Debtor 1                                                              _                  Case number (if known)
               First Name     Middle Name       Last Name



                                                    Continuation Sheet for Official Form 206 A/B
3) Checking, savings, money market, or financial brokerage accounts

Coastal State Bank                          Checking                                  9063

Balance: 0.00

Coastal States Bank                         Checking                                  0232

Balance: 0.00


47) Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

2022 Ford F150                       49,132.00                      KBB                                 57,593.11

2019 Ram 1500                        18,028.99                      KBB                                 18,371.00

2020 Ram 5500                                                       KBB                                 40,750.00

2011 Ford 5500                       3,000.00                       estimate                            3,000.00

2016 Ram 3500                        9,000.00                       estimate                            9,000.00

2019 Ram 1500                        23,098.00                      KBB                                 17,613.00


50) Other machinery, fixtures, and equipment (excluding farm machinery and equipment)

2022 BendPak Lift                                                   estimate                            6,700.00
XPR-18CL

Trimble T100 Tablet                                                 estimate                            4,500.00


75) Other contingent and unliquidated claims or causes of action of every nature, including
counterclaims of the debtor and rights to set off claims

Cleveland                            Breach of Contract             117,684.51                          Unknown
Construction, Inc.
on CLT Airport

Forrest Concrete                     Unliquidated                   25,000.00                           Unknown
vs. Balfour Beatty                   attorney fees and
Construction                         costs




Official Form 206 A/B                                                Schedule A/B: Property
               Case 23-01171-eg                            Doc 1     Filed 04/24/23 Entered 04/24/23 10:01:45                                       Desc Main
                                                                     Document     Page 17 of 70
  Fill in this information to identify the case:
              Forrest Concrete, LLC
  Debtor name __________________________________________________________________
                                          _______________________________________
  United States Bankruptcy Court for the: District of South Carolina

  Case number (If known):       _________________________                                                                                                 Check if this is an
                                                                                                                                                              amended filing
 Official Form 206D
 Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                  12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
        No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.

 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                                   Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                    Amount of claim           Value of collateral
                                                                                                                                   Do not deduct the value   that supports this
2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien              of collateral.            claim
     Ally Financial                                              2019 Ram 1500
      __________________________________________                                                                                     18,370.62
                                                                                                                                   $__________________          18,371.00
                                                                                                                                                              $_________________

     Creditor’s mailing address

      Ally Detroit Center
      ________________________________________________________
      500 Woodward Avenue, Detroit, MI 48226
      ________________________________________________________

                                                                   Describe the lien
    Creditor’s email address, if known
                                                                   Agreement    you made
                                                                   _________________________________________________
      _________________________________________
                                                                   Is the creditor an insider or related party?
    Date debt was incurred           __________________            
                                                                   ✔   No
    Last 4 digits of account                                          Yes
    number                   5011
                             _________________                     Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                     No
    same property?                                                 
                                                                   ✔   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    
    ✔
      No
                                                                   As of the petition filing date, the claim is:
     Yes. Specify each creditor, including this creditor,
                                                                   Check all that apply.
                                                                      Contingent
                                                                      Unliquidated
                                                                      Disputed
2.2 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     Ally Financial
                                                                 2019 Ram 1500                                                     $__________________
                                                                                                                                    23,317.19                 $_________________
                                                                                                                                                               17,613.00
      __________________________________________
     Creditor’s mailing address
      PO Box 380902
      ________________________________________________________
      Bloomington, MN 55438
      ________________________________________________________


    Creditor’s email address, if known
      _________________________________________
                                                                   Describe the lien
    Date debt was incurred __________________
    Last 4 digits of account                                       Agreement you made
                                                                   _________________________________________________
    number                   5069
                             _________________
                                                                   Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                  
                                                                   ✔   No
    same property?                                                    Yes
    
    ✔ No
                                                                   Is anyone else liable on this claim?
     Yes. Have you already specified the relative                    No
              priority?
                                                                   
                                                                   ✔   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             No. Specify each creditor, including this
                   creditor, and its relative priority.            As of the petition filing date, the claim is:
                                                                   Check all that apply.
                                                                      Contingent
             Yes. The relative priority of creditors is              Unliquidated
                  specified on lines _____                            Disputed

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                      970,834.85
                                                                                                                                    $________________
    Page, if any.
   Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                            6
                                                                                                                                                                page 1 of ___
                Case     23-01171-eg
                 Forrest Concrete, LLC
                                                            Doc 1     Filed 04/24/23 Entered 04/24/23 10:01:45 Desc Main
  Debtor            _______________________________________________________
                                                                      Document     Page 18 of Case
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                    Name



                                                                                                                                    Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                                  Amount of claim         Value of collateral
                                                                                                                                    Do not deduct the value that supports this
                                                                                                                                    of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  3 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Ally Financial
                                                                2020 Ram 5500
     __________________________________________                                                                                      40,749.83
                                                                                                                                    $__________________      40,750.00
                                                                                                                                                            $_________________
     Creditor’s mailing address

     Ally Detroit Center
     ________________________________________________________

     500 Woodward Avenue, Detroit, MI 48226
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred           __________________         Describe the lien
    Last 4 digits of account                                        Agreement you made
                                                                    __________________________________________________
    number                   _________________
                             4959
                                                                    Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                   
                                                                    ✔   No
    same property?                                                     Yes
    
    ✔ No

     Yes. Have you already specified the relative                  Is anyone else liable on this claim?
               priority?                                               No
              No. Specify each creditor, including this            
                                                                    ✔   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                       Contingent
              Yes. The relative priority of creditors is              Unliquidated
                   specified on lines _____                            Disputed


2.__
  4 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Ford Credit
                                                                    2022 Ford F150
     __________________________________________                                                                                      58,265.26
                                                                                                                                    $__________________       57,593.11
                                                                                                                                                            $_________________
     Creditor’s mailing address


      9930 Federal Drive
     ________________________________________________________

      Colorado Springs, CO 80921
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred           __________________
                                                                Describe the lien
    Last 4 digits of account
    number                   9726
                             _________________                      Agreement you made
                                                                    __________________________________________________


    Do multiple creditors have an interest in the                   Is the creditor an insider or related party?
    same property?                                                  
                                                                    ✔   No
    
    ✔ No                                                               Yes

     Yes. Have you already specified the relative                  Is anyone else liable on this claim?
               priority?                                            
                                                                    ✔   No
              No. Specify each creditor, including this
                                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                       Contingent
              Yes. The relative priority of creditors is              Unliquidated
                   specified on lines _____                            Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page ___
                                                                                                                                                                     2 of ___
                                                                                                                                                                           6
                Case     23-01171-eg
                 Forrest Concrete, LLC
                                                            Doc 1     Filed 04/24/23 Entered 04/24/23 10:01:45 Desc Main
  Debtor            _______________________________________________________
                                                                      Document     Page 19 of Case
                                                                                               70 number (if known)_____________________________________
                    Name



                                                                                                                                    Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                                  Amount of claim         Value of collateral
                                                                                                                                    Do not deduct the value that supports this
                                                                                                                                    of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  5 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Funding Metrics LLC DBA Lendini
                                                                Accounts Receivable
     __________________________________________                                                                                      192,000.00
                                                                                                                                    $__________________      424,100.35
                                                                                                                                                            $_________________
     Creditor’s mailing address

     3220 Tillman Drive
     ________________________________________________________

     Suite 200, Bensalem, PA 19020
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred           __________________
                                     07/21/2022                 Describe the lien
    Last 4 digits of account                                        UCC filed 8/19/2022
                                                                    __________________________________________________
    number                   _________________
                                                                    Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                   
                                                                    ✔   No
    same property?                                                     Yes
     No
    
    ✔ Yes. Have you already specified the relative
                                                                    Is anyone else liable on this claim?
               priority?                                               No
           
           ✔   No. Specify each creditor, including this            
                                                                    ✔   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.

    Funding Metrics LLC DBA Lendini,                                As of the petition filing date, the claim is:
                                                                    Check all that apply.
    1st; PIRS Capital, 1st; RDM
    Capital Funding      LLC DBA FinTap,                               Contingent
        Yes. The relative priority of creditors is                    Unliquidated
                   specified on lines _____                            Disputed


2.__
  6 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     PIRS Capital
                                                                    Accounts Receivable
     __________________________________________                                                                                      389,717.00
                                                                                                                                    $__________________       424,100.35
                                                                                                                                                            $_________________
     Creditor’s mailing address


      1688 Meridan Avenue
     ________________________________________________________

      Suite 700, Miami Beach, FL 33139
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred            04/04/2022
                                     __________________
                                                                Describe the lien
    Last 4 digits of account
    number                   _________________                      UCC filed 9/15/2022
                                                                    __________________________________________________


    Do multiple creditors have an interest in the                   Is the creditor an insider or related party?
    same property?                                                  
                                                                    ✔   No
     No                                                               Yes

    
    ✔ Yes. Have you already specified the relative                  Is anyone else liable on this claim?
               priority?                                               No
              No. Specify each creditor, including this
                                                                    
                                                                    ✔   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                       Contingent
           
           ✔   Yes. The relative priority of creditors is              Unliquidated
                   specified on lines _____
                                       2.3                             Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page ___
                                                                                                                                                                     3 of ___
                                                                                                                                                                           6
                Case     23-01171-eg
                 Forrest Concrete, LLC
                                                            Doc 1     Filed 04/24/23 Entered 04/24/23 10:01:45 Desc Main
  Debtor            _______________________________________________________
                                                                      Document     Page 20 of Case
                                                                                               70 number (if known)_____________________________________
                    Name



                                                                                                                                    Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                                  Amount of claim         Value of collateral
                                                                                                                                    Do not deduct the value that supports this
                                                                                                                                    of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  7 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     RDM Capital Funding LLC DBA FinTap
                                                                Accounts Receivable
     __________________________________________                                                                                      178,517.00
                                                                                                                                    $__________________      424,100.35
                                                                                                                                                            $_________________
     Creditor’s mailing address

     777 Passaic Avenue
     ________________________________________________________

     Suite 375, Cliffton, NJ 07012
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred           __________________
                                     05/24/2022                 Describe the lien
    Last 4 digits of account                                        UCC filed 8/30/2022
                                                                    __________________________________________________
    number                   _________________
                             0003
                                                                    Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                   
                                                                    ✔   No
    same property?                                                     Yes
     No
    
    ✔ Yes. Have you already specified the relative
                                                                    Is anyone else liable on this claim?
               priority?                                               No
              No. Specify each creditor, including this            
                                                                    ✔   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                       Contingent
           
           ■
               Yes. The relative priority of creditors is              Unliquidated
                                        2.3
                   specified on lines _____                            Disputed


2.__
  8 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Wells Fargo Financial
                                                                    Bobcat E60
     __________________________________________                                                                                      40,399.95
                                                                                                                                    $__________________       50,000.00
                                                                                                                                                            $_________________
     Creditor’s mailing address


      420 Montgomery Street
     ________________________________________________________

      San Francisco, CA 94104
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred           __________________
                                                                Describe the lien
    Last 4 digits of account
    number                   0006
                             _________________                      __________________________________________________


    Do multiple creditors have an interest in the                   Is the creditor an insider or related party?
    same property?                                                  
                                                                    ✔   No
    
    ✔ No                                                               Yes

     Yes. Have you already specified the relative                  Is anyone else liable on this claim?
               priority?                                               No
              No. Specify each creditor, including this
                                                                    
                                                                    ✔   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                       Contingent
              Yes. The relative priority of creditors is              Unliquidated
                   specified on lines _____                            Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page ___
                                                                                                                                                                     4 of ___
                                                                                                                                                                           6
                Case     23-01171-eg
                 Forrest Concrete, LLC
                                                            Doc 1     Filed 04/24/23 Entered 04/24/23 10:01:45 Desc Main
  Debtor            _______________________________________________________
                                                                      Document     Page 21 of Case
                                                                                               70 number (if known)_____________________________________
                    Name



                                                                                                                                    Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                                  Amount of claim         Value of collateral
                                                                                                                                    Do not deduct the value that supports this
                                                                                                                                    of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  9 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Wells Fargo Financial
                                                                Bobcat T740
     __________________________________________                                                                                      13,281.00
                                                                                                                                    $__________________      35,000.00
                                                                                                                                                            $_________________
     Creditor’s mailing address

     420 Montgomery Street
     ________________________________________________________

     San Francisco, CA 94104
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred           __________________         Describe the lien
    Last 4 digits of account
                                                                    __________________________________________________
    number                   _________________
                                                                    Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                   
                                                                    ✔   No
    same property?                                                     Yes
    
    ✔ No

     Yes. Have you already specified the relative                  Is anyone else liable on this claim?
               priority?                                               No
              No. Specify each creditor, including this            
                                                                    ✔   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                       Contingent
              Yes. The relative priority of creditors is              Unliquidated
                   specified on lines _____                            Disputed


2.__
  10 Creditor’s name                                            Describe debtor’s property that is subject to a lien
      Wells Fargo Financial
                                                                    Bobcat T740
     __________________________________________                                                                                      16,217.00
                                                                                                                                    $__________________       30,000.00
                                                                                                                                                            $_________________
     Creditor’s mailing address


      420 Montgomery Street
     ________________________________________________________

      San Francisco, CA 94104
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred           __________________
                                                                Describe the lien
    Last 4 digits of account
    number                   0005
                             _________________                      __________________________________________________


    Do multiple creditors have an interest in the                   Is the creditor an insider or related party?
    same property?                                                  
                                                                    ✔   No
    
    ✔ No                                                               Yes

     Yes. Have you already specified the relative                  Is anyone else liable on this claim?
               priority?                                               No
              No. Specify each creditor, including this
                                                                    
                                                                    ✔   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                       Contingent
              Yes. The relative priority of creditors is              Unliquidated
                   specified on lines _____                            Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page ___
                                                                                                                                                                     5 of ___
                                                                                                                                                                           6
             Case 23-01171-eg                Doc 1        Filed 04/24/23 Entered 04/24/23 10:01:45                                  Desc Main
                                                          Document     Page 22 of 70
Debtor
               Forrest Concrete, LLC
               _______________________________________________________                            Case number (if known)_____________________________________
               Name



Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt Alre a dy List e d in Pa rt 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                On which line in Part 1      Last 4 digits of
         Name and address
                                                                                                                did you enter the            account number
                                                                                                                related creditor?            for this entity
     Ford Credit c/o National Bankruptcy Service
     PO Box 62180
     Colorado Springs, CO, 80962                                                                                       4
                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




Form 206D                          Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___
                                                                                                                                                      6 of ___
                                                                                                                                                           6
                 Case 23-01171-eg               Doc 1      Filed 04/24/23 Entered 04/24/23 10:01:45                                 Desc Main
   Fill in this information to identify the case:          Document     Page 23 of 70

   Debtor
                    Forrest Concrete, LLC
                    __________________________________________________________________

                                           District of South Carolina
   United States Bankruptcy Court for the: ________________________________

   Case number       ___________________________________________
    (If known)

                                                                                                                                       Check if this is an
                                                                                                                                          amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                      12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :       List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
        No. Go to Part 2.
    
    ✔    Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                         Total claim                  Priority amount
2.1 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           1,031.11                     1,031.11
    Andre Nash                                                                                                                        $_________________
                                                            Check all that apply.
    843 Rocking Horse Lane                                     Contingent
    Bluffton, SC, 29910                                        Unliquidated
                                                               Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred                          Wages, Salaries, Commissions
    _________________________________

    Last 4 digits of account                                Is the claim subject to offset?
    number      _______________________                     ✔ No

                                                             Yes
    Specify Code subsection of PRIORITY unsecured
                                4
    claim: 11 U.S.C. § 507(a) (_____)
    Priority creditor’s name and mailing address
2.2 Day Labor                                               As of the petition filing date, the claim is: $______________________
                                                                                                            3,476.00                    3,476.00
                                                                                                                                      $_________________
                                                            Check all that apply.
    c/o 79 Mackinlay Way
    Ridgeland, SC, 29936                                       Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred
                                                             Wages, Salaries, Commissions
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔ No

    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                                4
2.3 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           965.14                      965.14
    Federico Paramo-Mercado                                                                                                           $_________________
                                                            Check all that apply.
    65 Bufflehead Lane
                                                               Contingent
    Bluffton, SC, 29910                                        Unliquidated
                                                               Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred                          Wages, Salaries, Commissions
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔
                                                                 No
    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                               4


  Official Form 206E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                 18
                                                                                                                                           page 1 of ___
               Case     23-01171-eg
                Forrest Concrete, LLC         Doc 1     Filed 04/24/23 Entered 04/24/23 10:01:45 Desc Main
  Debtor         _______________________________________________________
                 Name                                   Document     Page 24 of Case
                                                                                 70 number (if known)_____________________________________
 Pa rt 1 .    Addit iona l Pa ge


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.           Total claim              Priority amount


  4
2.____ Priority creditor’s name and mailing address                                                       776,439.40                776,439.40
                                                                                                         $______________________   $_________________
      Internal Revenue Service                           As of the petition filing date, the claim is:
      Centralized Insolvency Operation                   Check all that apply.
      PO Box 7346                                           Contingent
      Philadelphia, PA, 19101-7346                          Unliquidated
                                                            Disputed


        Date or dates debt was incurred                  Basis for the claim:
        2020 (941)
        _________________________________
                                                         Taxes & Other Government Units
                                                         _________________________________
        Last 4 digits of account
        number      4580
                    _______________________
                                                         Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                         
                                                         ✔   No
                                                            Yes

  5
2.____ Priority creditor’s name and mailing address                                                       740.97                     740.97
                                                                                                         $______________________   $_________________
      Jasper County Treasurer
                                                         As of the petition filing date, the claim is:
      Attn: Verna Garvin
                                                         Check all that apply.
      358 3rd Avenue
      Ridgeland, SC, 29936
                                                            Contingent
                                                            Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        2023
        _________________________________
                                                         Taxes & Other Government Units
                                                         _________________________________

        Last 4 digits of account
                    9231                                 Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                         
                                                         ✔
                                                             No
                                   8
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

  6
2.____ Priority creditor’s name and mailing address                                                        652.81                    652.81
                                                                                                         $______________________   $_________________
      Jasper County Treasurer                            As of the petition filing date, the claim is:
      Attn: Verna Garvin                                 Check all that apply.
      358 3rd Avenue                                        Contingent
      Ridgeland, SC, 29936                                  Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        2023
        _________________________________                Taxes & Other Government Units
                                                         _________________________________

        Last 4 digits of account
        number      _______________________
                    4231                                 Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured    
                                                         ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)
                                    8                       Yes

  7
2.____ Priority creditor’s name and mailing address                                                      7,155.17
                                                         As of the petition filing date, the claim is: $______________________
                                                                                                                                     7,155.17
                                                                                                                                   $_________________
      Jasper County Treasurer
                                                         Check all that apply.
      Attn: Verna Garvin
      358 3rd Avenue
                                                            Contingent
      Ridgeland, SC, 29936
                                                            Unliquidated
                                                            Disputed


                                                         Basis for the claim:
        Date or dates debt was incurred
                                                         Taxes & Other Government Units
                                                         _________________________________
        2023
        _________________________________

        Last 4 digits of account                         Is the claim subject to offset?
        number      9224
                    _______________________

        Specify Code subsection of PRIORITY unsecured
                                                         
                                                         ✔
                                                             No
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes


      Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                                 2 of ___
                                                                                                                                               page __    18
                Case     23-01171-eg
                 Forrest Concrete, LLC        Doc 1     Filed 04/24/23 Entered 04/24/23 10:01:45 Desc Main
  Debtor          _______________________________________________________
                  Name                                  Document     Page 25 of Case
                                                                                 70 number (if known)_____________________________________
 Pa rt 1 .    Addit iona l Pa ge


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.           Total claim              Priority amount


  8
2.____ Priority creditor’s name and mailing address                                                       6,484.54                  6,484.54
                                                                                                         $______________________   $_________________
       Jasper County Treasurer                           As of the petition filing date, the claim is:
       Attn: Verna Garvin                                Check all that apply.
       358 3rd Avenue                                       Contingent
       Ridgeland, SC, 29936                                 Unliquidated
                                                            Disputed


        Date or dates debt was incurred                  Basis for the claim:
        2023
        _________________________________
                                                         Taxes & Other Government Units
                                                         _________________________________
        Last 4 digits of account
        number      0015
                    _______________________
                                                         Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                         
                                                         ✔   No
                                                            Yes

  9
2.____ Priority creditor’s name and mailing address                                                       1,876.71                   1,876.71
                                                                                                         $______________________   $_________________
       Jasper County Treasurer
                                                         As of the petition filing date, the claim is:
       Attn: Verna Garvin
                                                         Check all that apply.
       358 3rd Avenue
       Ridgeland, SC, 29936
                                                            Contingent
                                                            Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        2023
        _________________________________
                                                         Taxes & Other Government Units
                                                         _________________________________

        Last 4 digits of account
                    0014                                 Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                         
                                                         ✔
                                                             No
                                   8
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

  10
2.____ Priority creditor’s name and mailing address                                                        1,280.57                  1,280.57
                                                                                                         $______________________   $_________________
       John L. Forrest                                   As of the petition filing date, the claim is:
       12309 Bells Highway                               Check all that apply.
       Ruffin, SC, 29475                                    Contingent
                                                            Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        _________________________________                Wages, Salaries, Commissions
                                                         _________________________________

        Last 4 digits of account
        number      _______________________              Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured    
                                                         ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)
                                    4                       Yes

  11
2.____ Priority creditor’s name and mailing address                                                      600.00
                                                         As of the petition filing date, the claim is: $______________________
                                                                                                                                     600.00
                                                                                                                                   $_________________
      Marisa Goodrich
                                                         Check all that apply.
      5 Charles Cross Way
      No. 7219
                                                            Contingent
      Bluffton, SC, 29910
                                                            Unliquidated
                                                            Disputed


                                                         Basis for the claim:
        Date or dates debt was incurred
                                                         Wages, Salaries, Commissions
                                                         _________________________________
        _________________________________

        Last 4 digits of account                         Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                         
                                                         ✔
                                                             No
                                    4
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes


       Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                                 3 of ___
                                                                                                                                               page __    18
                Case     23-01171-eg
                 Forrest Concrete, LLC        Doc 1     Filed 04/24/23 Entered 04/24/23 10:01:45 Desc Main
  Debtor          _______________________________________________________
                  Name                                  Document     Page 26 of Case
                                                                                 70 number (if known)_____________________________________
 Pa rt 1 .    Addit iona l Pa ge


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.           Total claim              Priority amount


  12
2.____ Priority creditor’s name and mailing address                                                       1,200.37                  1,200.37
                                                                                                         $______________________   $_________________
       Robert Trotter                                    As of the petition filing date, the claim is:
       104 Central 7th Street                            Check all that apply.
       Santa Rosa Beach, FL, 32459                          Contingent
                                                            Unliquidated
                                                            Disputed


        Date or dates debt was incurred                  Basis for the claim:

        _________________________________
                                                         Wages, Salaries, Commissions
                                                         _________________________________
        Last 4 digits of account
        number      _______________________
                                                         Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    4
        claim: 11 U.S.C. § 507(a) (_____)
                                                         
                                                         ✔   No
                                                            Yes

  13
2.____ Priority creditor’s name and mailing address                                                       3,433.39                   3,433.39
                                                                                                         $______________________   $_________________
       SC Department of Revenue
                                                         As of the petition filing date, the claim is:
       Office of General Counsel
                                                         Check all that apply.
       300A Outlet Pointe Boulevard
       Columbia, SC, 29210
                                                            Contingent
                                                            Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        2022
        _________________________________
                                                         Taxes & Other Government Units
                                                         _________________________________

        Last 4 digits of account
                    7256                                 Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                         
                                                         ✔
                                                             No
                                   8
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

  14
2.____ Priority creditor’s name and mailing address                                                        3,757.93                  3,757.93
                                                                                                         $______________________   $_________________
       See Attached Schedule E/F: Part 1                 As of the petition filing date, the claim is:
                                                         Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        2020 (941)
        _________________________________                Taxes & Other Government Units
                                                         _________________________________

        Last 4 digits of account
        number      _______________________              Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured    
                                                         ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)
                                    8                       Yes

  15
2.____ Priority creditor’s name and mailing address                                                      1,800.00
                                                         As of the petition filing date, the claim is: $______________________
                                                                                                                                     1,800.00
                                                                                                                                   $_________________
    Teresa Forrest
                                                         Check all that apply.
    21 Charles Cross Way
    No. 5218
                                                            Contingent
    Bluffton, SC, 29910
                                                            Unliquidated
                                                            Disputed


                                                         Basis for the claim:
        Date or dates debt was incurred
                                                         Wages, Salaries, Commissions
                                                         _________________________________
        _________________________________

        Last 4 digits of account                         Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                         
                                                         ✔
                                                             No
                                    4
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes


       Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                                 4 of ___
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  Debtor        _______________________________________________________
                Name                                      Document     Page 27 of Case
                                                                                   70 number (if known)_____________________________________
 Pa rt 2 :   List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                              Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Advanced Auto Parts                                                                                                       13,947.60
                                                                                                                            $________________________________
                                                                              Contingent
    PO Box 742063                                                             Unliquidated
                                                                              Disputed
    Atlanta, GA, 30374                                                                             Suppliers or Vendors
                                                                           Basis for the claim:



    Date or dates debt was incurred            08/31/2021
                                               ___________________          Is the claim subject to offset?

    Last 4 digits of account number            8139
                                               ___________________         
                                                                           ✔   No
                                                                              Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Allied Concrete Forming                                                Check all that apply.                              24,230.00
                                                                                                                            $________________________________
    4413 Republic CT NW                                                       Contingent
                                                                              Unliquidated
    Concord, NC, 28027                                                        Disputed
                                                                           Basis for the claim:
                                                                                                   Suppliers or Vendors


    Date or dates debt was incurred            05/01/2020
                                               ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔   No
    Last 4 digits of account number            __________________             Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Bobcat                                                                                                                    147.10
                                                                                                                            $________________________________
                                                                              Contingent
    Bobcat C/O Interstate Billing Services                                    Unliquidated
    PO Box 2250                                                               Disputed
     Decatur, AL, 35609                                                    Basis for the claim:
                                                                                                   Suppliers or Vendors

    Date or dates debt was incurred            08/05/2021
                                               ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            8154
                                               __________________          
                                                                           ✔   No
                                                                              Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    BP Business Solutions                                                  Check all that apply.
                                                                                                                              2,066.08
                                                                                                                            $________________________________
    PO Box 1239                                                               Contingent
                                                                              Unliquidated
    Covington, LA, 70434                                                      Disputed
                                                                            Basis for the claim:
                                                                                                   Credit Card Debt

    Date or dates debt was incurred            05/2022
                                               ___________________         Is the claim subject to offset?

    Last 4 digits of account number            1342
                                               __________________          
                                                                           ✔
                                                                               No
                                                                              Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Bridgefield/Summit Insurance                                                                                              7,737.12
                                                                                                                            $________________________________
                                                                           Check all that apply.
    PO Box 32034                                                              Contingent
                                                                              Unliquidated
    Lakeland, FL, 33802                                                       Disputed
                                                                           Basis for the claim:
                                                                                                   Workers Comp Insurance

    Date or dates debt was incurred            01/19/2023
                                               ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔   No
                                                                              Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Brundage Bone Concrete Pumping                                                                                            2,912.00
                                                                                                                            $________________________________
                                                                           Check all that apply.
    PO Box 7767                                                               Contingent
                                                                              Unliquidated
     Charlotte, NC, 28241                                                     Disputed
                                                                           Basis for the claim:    Suppliers or Vendors

    Date or dates debt was incurred            ___________________
                                               07/15/2020                  Is the claim subject to offset?
    Last 4 digits of account number            ___________________         
                                                                           ✔
                                                                               No
                                                                              Yes


    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                                    5 of ___
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Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             4,588.86
                                                                                                                      $________________________________
 Building Point Southeast                                                Contingent
 PO Box 30666                                                            Unliquidated
                                                                         Disputed
 Charlotte, NC, 28230
                                                                      Basis for the claim: Suppliers or Vendors



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred         12/10/2021
                                               ___________________
                                                                      
                                                                      ✔
                                                                          No
                                                                         Yes
        Last 4 digits of account number        ___________________
  8
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        27,216.00
                                                                                                                      $________________________________
 Colleton Tile and Concrete, Inc.
 PO Box 319                                                              Contingent
 Walterboro, SC, 29488                                                   Unliquidated
                                                                         Disputed

                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred         03/2023
                                               ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                          No
                                                                         Yes
  9
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Colonial Fuel and Lubricant Services, Inc.                           Check all that apply.
                                                                                                                       350.00
                                                                                                                      $________________________________
 PO Box 576                                                              Contingent
                                                                         Unliquidated
 Savannah, GA, 31415                                                     Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________
                                               06/07/2022             Is the claim subject to offset?
        Last 4 digits of account number        __________________
                                               1174                   
                                                                      ✔
                                                                          No
                                                                         Yes
  10
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       3,705.47
                                                                                                                      $________________________________
 Complete Network                                                     Check all that apply.
 14 Corporate Woods Blvd.                                                Contingent
 Suite 217                                                               Unliquidated
 Albany, NY, 12211                                                       Disputed

                                                                      Basis for the claim: Services



        Date or dates debt was incurred         12/01/2021
                                               ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                          No
        Last 4 digits of account number        ___________________       Yes
  11
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Contractors Depot                                                    Check all that apply.
                                                                                                                        0.00
                                                                                                                      $________________________________
 9 Telfair Place Unit F                                                  Contingent
                                                                         Unliquidated
 Savannah , GA, 31415                                                    Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred         10/25/2022
                                               ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                          No
        Last 4 digits of account number        ___________________
                                               3                         Yes




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Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  12
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             3,916.69
                                                                                                                     $________________________________
 Dorsey Tire Company                                                    Contingent
 PO Box 1387                                                            Unliquidated
                                                                        Disputed
 Savannah, GA,
                                                                     Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred        10/07/2021
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       2727
                                              ___________________
  13
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       5,177.22
                                                                                                                     $________________________________
 Espy Lumber Company
 3785 Argent Blvd.                                                      Contingent
                                                                        Unliquidated
 Ridgeland, SC, 29936                                                   Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        07/06/2022
                                              ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  14
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Extended Stay of America                                            Check all that apply.
                                                                                                                      16,847.16
                                                                                                                     $________________________________
 PO Box 49289                                                           Contingent
                                                                        Unliquidated
 Charlotte, NC, 28277                                                   Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________
                                              02/06/2022             Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  15
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      35,433.81
                                                                                                                     $________________________________
 First Bank of Omaha                                                 Check all that apply.
 PO Box 3331                                                            Contingent
                                                                        Unliquidated
 Omaha, NE, 68103                                                       Disputed

                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                              9935                
                                                                  ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  16
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 First Bank of Omaha                                                 Check all that apply.
                                                                                                                       8,233.21
                                                                                                                     $________________________________
 PO Box 3331                                                            Contingent
                                                                        Unliquidated
 Omaha, NE, 68103                                                       Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________
                                              8813                      Yes




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Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  17
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29,255.07
                                                                                                                     $________________________________
 First Bank of Omaha                                                    Contingent
 PO Box 3331                                                            Unliquidated
                                                                        Disputed
 Omaha, NE, 68103
                                                                     Basis for the claim: Credit Card Debt



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       7216
                                              ___________________
  18
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       33,177.29
                                                                                                                     $________________________________
 FleetCor Fuelman
 PO Box 1239                                                            Contingent
                                                                        Unliquidated
 Covington, LA, 70434                                                   Disputed

                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred        06/21/2021
                                              ___________________    Is the claim subject to offset?
        Last 4 digits of account number       R8MF
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  19
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gaster Lumber & Hardware                                            Check all that apply.
                                                                                                                      3,294.56
                                                                                                                     $________________________________
 3051 Plantation Drive                                                  Contingent
                                                                        Unliquidated
 Hardeville, SC, 29927                                                  Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________
                                              06/29/2022             Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              R007                   
                                                                     ✔
                                                                         No
                                                                        Yes
  20
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      1,773.80
                                                                                                                     $________________________________
 Grayco                                                              Check all that apply.
 PO Box 1048                                                            Contingent
                                                                        Unliquidated
 Beaufort, SC, 29901                                                    Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        08/23/2022
                                              ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  21
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Great American Finance                                              Check all that apply.
                                                                                                                       3,699.80
                                                                                                                     $________________________________
 408 E Main Street Bldg. #1                                             Contingent
 Suite 6                                                                Unliquidated
 Marshall, MN, 56258                                                    Disputed
                                                                     Basis for the claim: Equipment Loan



        Date or dates debt was incurred        06/10/2021
                                              ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________
                                              7191                      Yes




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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  22
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             7,187.15
                                                                                                                     $________________________________
 Great American Finance                                                 Contingent
 408 E Main Street Bldg. #1                                             Unliquidated
 Suite 6                                                                Disputed
 Marshall, MN, 56258
                                                                     Basis for the claim: Equipment Loan



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred        03/15/2022
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       0782
                                              ___________________
  23
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       5,026.36
                                                                                                                     $________________________________
 HD Supply
 PO Box 4852                                                            Contingent
                                                                        Unliquidated
 Orlando, FL, 32802                                                     Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        06/29/2022
                                              ___________________    Is the claim subject to offset?
        Last 4 digits of account number       4000
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  24
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Herc Rentals                                                        Check all that apply.
                                                                                                                      4,414.17
                                                                                                                     $________________________________
 27500 Riverview Center Blvd.                                           Contingent
                                                                        Unliquidated
 Bonita Springs, FL, 34134                                              Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________
                                              06/04/2022             Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              8385                   
                                                                     ✔
                                                                         No
                                                                        Yes
  25
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      3,382.16
                                                                                                                     $________________________________
 Heyden Supply LLC                                                   Check all that apply.
 375 James Rd.                                                          Contingent
                                                                        Unliquidated
 Alpharetta, GA, 30004                                                  Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        08/25/2022
                                              ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  26
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 John L. Forrest                                                     Check all that apply.
                                                                                                                       55,000.00
                                                                                                                     $________________________________
 12309 Bells Highway                                                    Contingent
 Ruffin, SC, 29475                                                      Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Loans to the company



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




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Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  27
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11,340.00
                                                                                                                     $________________________________
 June & Associates, CPA                                                 Contingent
 99 Main Street                                                         Unliquidated
                                                                        Disputed
 Hilton Head Island, SC, 29926
                                                                     Basis for the claim: CPA Critical Vendor



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred        09/15/2021
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  28
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       24,642.21
                                                                                                                     $________________________________
 Knights Ready Mix
 PO Box 3408                                                            Contingent
                                                                        Unliquidated
 Summerville, SC, 29484                                                 Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       2141
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  29
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Low Country Pavers                                                  Check all that apply.
                                                                                                                      0.00
                                                                                                                     $________________________________
 PO Box 485                                                             Contingent
 Hardeeville, SC, 29927                                                 Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  30
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      84,972.00
                                                                                                                     $________________________________
 Michael P. Forrest                                                  Check all that apply.
 12761 152nd Avenue                                                     Contingent
 Fremont, MI, 49413                                                     Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Loans to the company



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  31
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mobile Modular Portable Storage                                     Check all that apply.
                                                                                                                       1,405.00
                                                                                                                     $________________________________
 5700 Las Positas Rd.                                                   Contingent
                                                                        Unliquidated
 Livermore, CA, 94551                                                   Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        05/15/2022
                                              ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________
                                              5096                      Yes




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Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  32
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             3,400.49
                                                                                                                     $________________________________
 Murray Sand Company, Inc.                                              Contingent
 145 Checkerboard Rd.                                                   Unliquidated
                                                                        Disputed
 Summerville, SC, 29483
                                                                     Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred        12/10/2021
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       F047
                                              ___________________
  33
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       587.95
                                                                                                                     $________________________________
 Palmetto Security Systems
 172 Mead Rd. Ste B                                                     Contingent
                                                                        Unliquidated
 Hardeville, SC, 29927                                                  Disputed

                                                                     Basis for the claim: Security System Monitoring and Repairs



        Date or dates debt was incurred        08/30/2022
                                              ___________________    Is the claim subject to offset?
        Last 4 digits of account number       2847
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  34
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Palmetto State Bank                                                 Check all that apply.
                                                                                                                      340,669.97
                                                                                                                     $________________________________
 194 Bluffton Rd.,                                                      Contingent
                                                                        Unliquidated
 Bluffton, SC, 29910                                                    Disputed
                                                                     Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred       ___________________
                                              10/01/2022             Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              1202                   
                                                                     ✔
                                                                         No
                                                                        Yes
  35
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      240,000.00
                                                                                                                     $________________________________
 Palmetto State Bank                                                 Check all that apply.
 194 Bluffton Rd.,                                                      Contingent
                                                                        Unliquidated
 Bluffton, SC, 29910                                                    Disputed

                                                                     Basis for the claim: Debt Guaranty



        Date or dates debt was incurred        09/24/2022
                                              ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  36
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Platinum Materials                                                  Check all that apply.
                                                                                                                       4,002.00
                                                                                                                     $________________________________
 365 Langston Chapel Rd.                                                Contingent
                                                                        Unliquidated
 Statesboro, GA, 30458                                                  Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        05/20/2022
                                              ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________
                                              1878                      Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  37
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             1,000.00
                                                                                                                     $________________________________
 Pro Contractor Supply                                                  Contingent
 3917 Old Flowery Branch Rd.                                            Unliquidated
                                                                        Disputed
 Oakwood, GA, 30556
                                                                     Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred        09/09/2011
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       RE-1
                                              ___________________
  38
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       1,630.86
                                                                                                                     $________________________________
 Ricoh USA C/O Wells Fargo Vendor Financial
 Services                                                               Contingent
 PO Box 740540                                                          Unliquidated
                                                                        Disputed
 Atlanta , GA, 30374
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        09/16/2022
                                              ___________________    Is the claim subject to offset?
        Last 4 digits of account number       2025
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  39
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 River Road Ready Mix Products, Inc.                                 Check all that apply.
                                                                                                                      4,159.54
                                                                                                                     $________________________________
 PO Box 830525                                                          Contingent
 Dept R52                                                               Unliquidated
 Birmingham, AL, 35283-0525                                             Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________
                                              3/31/2023              Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  40
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      667.25
                                                                                                                     $________________________________
 Rosco                                                               Check all that apply.
 98 Riverwalk Blvd.                                                     Contingent
                                                                        Unliquidated
 Ridgeland, SC, 29936                                                   Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        03/15/2022
                                              ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  41
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Selective Insurance                                                 Check all that apply.
                                                                                                                       34,333.00
                                                                                                                     $________________________________
 40 Wantage Avenue                                                      Contingent
                                                                        Unliquidated
 Branchville, NJ, 07890                                                 Disputed
                                                                     Basis for the claim: Liability Insurance-Critical Vendor



        Date or dates debt was incurred        02/01/2023
                                              ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________
                                              1236                      Yes




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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  42
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11,515.74
                                                                                                                     $________________________________
 Skufca Law PLLC                                                        Contingent
 1514 S. Church Street                                                  Unliquidated
 Suite 101                                                              Disputed
 Charlotte, NC, 28203
                                                                     Basis for the claim: ILHS Attorneys



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred        10/21/2022
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       1450
                                              ___________________
  43
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       14,176.13
                                                                                                                     $________________________________
 Southern Rebar & Suppliers
 4615 Coster Rd.                                                        Contingent
                                                                        Unliquidated
 Knoxville, TN, 37912                                                   Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        04/30/2021
                                              ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  44
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 SRM Concrete                                                        Check all that apply.
                                                                                                                      11,683.52
                                                                                                                     $________________________________
 1000 Hollingshead Circle                                               Contingent
                                                                        Unliquidated
 Murfreesboro, TN, 37129                                                Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________
                                              06/01/2022             Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              0327                   
                                                                     ✔
                                                                         No
                                                                        Yes
  45
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      2,142.90
                                                                                                                     $________________________________
 Superior Heating & Air                                              Check all that apply.
 36 Persimmons Rd.                                                      Contingent
 Suite 202                                                              Unliquidated
 Bluffton, SC, 29910                                                    Disputed

                                                                     Basis for the claim: Services



        Date or dates debt was incurred        07/28/2021
                                              ___________________    Is the claim subject to offset?
                                              8368                
                                                                  ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  46
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sweet Gravy Trucking                                                Check all that apply.
                                                                                                                       21,174.29
                                                                                                                     $________________________________
 PO Box 7057                                                            Contingent
                                                                        Unliquidated
 Savannah, GA, 31418                                                    Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        05/12/2020
                                              ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  47
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             506.76
                                                                                                                     $________________________________
 TEG Enterprises, Inc.                                                  Contingent
 107 Gass Drive                                                         Unliquidated
 Greeneville, TN, 37745                                              
                                                                     ✔   Disputed

                                                                     Basis for the claim:



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred        04/19/2022
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  48
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       15,017.00
                                                                                                                     $________________________________
 Teresa Forrest
 12 Charles Cross Way                                                   Contingent
 Unit 5218                                                              Unliquidated
 Bluffton, SC                                                           Disputed

                                                                     Basis for the claim: Loans to the company



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  49
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tropical Trash                                                      Check all that apply.
                                                                                                                      6,377.88
                                                                                                                     $________________________________
 PO Box 22468                                                           Contingent
 Hilton Head Island, SC, 29925                                          Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________
                                              03/02/2023             Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  50
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      26,907.97
                                                                                                                     $________________________________
 Truist Card Services                                                Check all that apply.
 PO Box 4986                                                            Contingent
                                                                        Unliquidated
 Orlando, FL, 32802                                                     Disputed

                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                              8433                
                                                                  ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  51
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 US Bank                                                             Check all that apply.
                                                                                                                       34,023.15
                                                                                                                     $________________________________
 PO Box 790408                                                          Contingent
                                                                        Unliquidated
 St. Louis, MO, 63179                                                   Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________
                                              0366                      Yes




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Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  52
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             373.09
                                                                                                                     $________________________________
 Verizon                                                                Contingent
 One Verizon Way                                                        Unliquidated
 Mail Code:180WVB                                                       Disputed
 Basking Ridge, NJ, 07920
                                                                     Basis for the claim: Telephone / Internet services



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred        03/09/2023
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       7543
                                              ___________________
  53
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       3,756.58
                                                                                                                     $________________________________
 Waste Management Services
 PO Box 43290                                                           Contingent
                                                                        Unliquidated
 Phoenix, AZ, 85080                                                     Disputed

                                                                     Basis for the claim: Trash/Roll Off



        Date or dates debt was incurred        10/18/2021
                                              ___________________    Is the claim subject to offset?
        Last 4 digits of account number       3005
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  54
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 World Diamond Source                                                Check all that apply.
                                                                                                                      3,000.00
                                                                                                                     $________________________________
 2987 Center Port Circle                                                Contingent
 Suite 4 & 5                                                            Unliquidated
 Pompano Beach, FL, 33064                                               Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $________________________________
                                                                        Contingent
                                                                        Unliquidated
                                                                        Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                        No
        Last 4 digits of account number       ___________________       Yes

3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $________________________________
                                                                        Contingent
                                                                        Unliquidated
                                                                        Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                        No
        Last 4 digits of account number       ___________________       Yes




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Pa rt 3 :           List Ot he rs t o Be N ot ifie d About Unse c ure d Cla ims


4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



              Name and mailing address                                                         On which line in Part 1 or Part 2 is the         Last 4 digits of
                                                                                               related creditor (if any) listed?                account number, if
                                                                                                                                                any
          AGA for Advanced Auto
4.1.      740 Walt Whitman Road                                                                     3.1
                                                                                               Line _____
          Melville, NY, 11747                                                                                                                   ________________
                                                                                                    Not listed. Explain:


          Altus Receivable Manager for BP Mastercard
4.2.
          PO Box 1389                                                                          Line 3.4
                                                                                                    _____
                                                                                                                                                6322
                                                                                                                                                ________________
          Kenner, LA, 70063-1389                                                                  Not listed. Explain

          Caine & Weiner for Extended Stay America                                                  3.14
4.3.                                                                                           Line _____
          PO Box 55848
                                                                                                                                                 4387
                                                                                                                                                ________________
          Sherman Oaks, CA, 91413                                                                 Not listed. Explain

          Clarkson and Hale, LLC
4.4.      PO Box 287                                                                                3.15
                                                                                               Line _____
          1044 Wildwood Center Drive                                                                                                            ________________
          Columbia, SC, 29202
                                                                                                  Not listed. Explain

          FleetCor Fuelman
41.       c/o John C. Williams & Associates                                                         3.18
                                                                                               Line _____
          1612 Northeast Expressway                                                                                                             ________________
          Atlanta, GA, 30329
                                                                                                  Not listed. Explain

          Internal Revenue Service
4.5.      Centralized Insolvency Operations
                                                                                                    2.4
                                                                                               Line _____
          2970 Market Street, Mail Stop 5-Q30 133                                                 Not listed. Explain                          ________________
          Philadelphia, PA, 19104

          Law Office of Mark A. Kirkorsky
4.6.      1119 W. Southern Avenue
                                                                                                    3.24
                                                                                               Line _____
          Suite 200                                                                               Not listed. Explain                          ________________
          Mesa, AZ, 85210

          Lee Wittenberg Harritt Hoefer & Davis, PA                                                 3.53
4.7.                                                                                           Line _____
          207 N. Washington Street
          PO Box 730                                                                              Not listed. Explain                          ________________
          Sumter, SC, 29151

          Levy, Diamond, Bello & Associates                                                         3.53
4.8.                                                                                           Line _____
          PO Box 352
          Milford, CT, 06460-0352                                                                 Not listed. Explain                          9298
                                                                                                                                                ________________



          McCorkle, Johnson & McCoy, LLP                                                            3.44
4.9.                                                                                           Line _____
          319 Tattnall Street
          Savannah, GA, 31401                                                                     Not listed. Explain                          ________________



          Minor, Haight & Arubdell, PC
4.10.                                                                                          Line 3.13
                                                                                                    _____
          1000 William Hilton Parkway
          Suite 203                                                                               Not listed. Explain                          ________________
          Hilton Head Island, SC, 29938

4.11.     Pucin & Friedland
          935 National Parkway                                                                      3.14
                                                                                               Line _____
          Suite 40                                                                                                                              9980
                                                                                                                                                ________________
          Schaumburg, IL, 60173
                                                                                                  Not listed. Explain




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Pa rt 3 :   Addit iona l Pa ge for Othe rs to Be Not ifie d About Unse c ure d Cla im s


       Name and mailing address                                                  On which line in Part 1 or Part 2 is the   Last 4 digits of
                                                                                 related creditor (if any) listed?          account number,
                                                                                                                            if any
  13
4.__ VeriCore                                                                        3.54
                                                                                Line _____
     10115 Kincey Avenue
     Suite 100                                                                      Not listed. Explain
                                                                                                                            1568
                                                                                                                            ________________
     Huntersville, NC, 28078

  14   Williams, Buyck & Williams
4.__                                                                                 3.1
                                                                                Line _____
       PO Box 1909
       Florence, SC, 29503                                                          Not listed. Explain
                                                                                                                            0367
                                                                                                                            ________________



4.__                                                                            Line _____

                                                                                    Not listed. Explain                    ________________



4.__                                                                            Line _____

                                                                                    Not listed. Explain                    ________________



4.__                                                                            Line _____

                                                                                    Not listed. Explain                    ________________



4.__                                                                            Line _____

                                                                                    Not listed. Explain                    ________________



4.__                                                                            Line _____

                                                                                    Not listed. Explain                    ________________



4.__                                                                            Line _____

                                                                                    Not listed. Explain                    ________________



4.__                                                                            Line _____

                                                                                    Not listed. Explain                    ________________



4.__                                                                            Line _____

                                                                                    Not listed. Explain                    ________________



4.__                                                                            Line _____

                                                                                    Not listed. Explain                    ________________



4.__                                                                            Line _____

                                                                                    Not listed. Explain                    ________________



4.__                                                                            Line _____

                                                                                    Not listed. Explain                    ________________



4.__                                                                            Line _____

                                                                                    Not listed. Explain ________________   ________________




   Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                      page __     18
                                                                                                                                          17 of ___
             Case     23-01171-eg
              Forrest Concrete, LLC       Doc 1      Filed 04/24/23 Entered 04/24/23 10:01:45 Desc Main
 Debtor        _______________________________________________________
               Name                                  Document     Page 40 of Case
                                                                              70 number (if known)_____________________________________
Pa rt 4 :    T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                         Total of claim amounts



5a. Total claims from Part 1                                                                  5a.
                                                                                                           810,894.11
                                                                                                         $_____________________________




5b. Total claims from Part 2                                                                  5b.   +      1,206,183.96
                                                                                                         $_____________________________




5c. Total of Parts 1 and 2                                                                                 2,017,078.07
                                                                                              5c.        $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                  page __
                                                                                                                                       18 of ___
                                                                                                                                              18
             Case 23-01171-eg                 Doc 1       Filed 04/24/23 Entered 04/24/23 10:01:45                                 Desc Main
                                                          Document     Page 41 of 70
 Fill in this information to identify the case:

             Forrest Concrete, LLC
 Debtor name __________________________________________________________________

                                         District of South Carolina
 United States Bankruptcy Court for the:______________________

 Case number (If known):    _________________________                        11
                                                                     Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                                12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease
                                       Lease on 79 Mackinlay Way                         Mackinlay Way, LLC
         State what the contract or    Lessor                                            c/o Michael P. Forrest
 2.1     lease is for and the nature
         of the debtor’s interest
                                                                                         12761 152nd Avenue
                                                                                         Grand Haven, MI, 49413
         State the term remaining
                                       Month to Month (Debtor pays all
                                       expenses)
         List the contract number of
         any government contract


         State what the contract or
 2.2     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.3     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.4
         lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.5     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                                        1
                                                                                                                                              page 1 of ___
             Case 23-01171-eg                 Doc 1        Filed 04/24/23 Entered 04/24/23 10:01:45                                 Desc Main
                                                           Document     Page 42 of 70
 Fill in this information to identify the case:

 Debtor name __________________________________________________________________
             Forrest Concrete, LLC

                                         District of South Carolina
 United States Bankruptcy Court for the:_______________________________

 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Sc he dule H : Code bt ors                                                                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
        No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       
       ✔ Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:

       Michael P. Forrest            Michael P. Forrest
 2.1                                                                                                     PIRS   Capital
                                                                                                          _____________________              ✔ D
                                                                                                                                             
                                     12761 152nd Avenue
                                                                                                                                              E/F
                                     Grand Haven, MI 49413                                                                                    G




 2.2                                 Michael P. Forrest
                                                                                                         Ally Financial
                                                                                                          _____________________              ✔ D
                                                                                                                                             
                                     12761 152nd Avenue
                                                                                                                                              E/F
                                     Grand Haven, MI 49413                                                                                    G
       Michael P. Forrest



 2.3                                 Michael P. Forrest
                                     12761 152nd Avenue                                                   Ally Financial
                                                                                                           _____________________             ✔ D
                                                                                                                                             
                                     Grand Haven, MI 49413                                                                                    E/F
       Michael P. Forrest                                                                                                                     G



 2.4
                                     Michael P. Forrest
                                     12761 152nd Avenue                                                  Ally Financial
                                                                                                          _____________________              ✔ D
                                                                                                                                             
                                     Grand Haven, MI 49413                                                                                    E/F
       Michael P. Forrest                                                                                                                     G



 2.5                                 Michael P. Forrest
                                     12761 152nd Avenue                                                  Wells Fargo Financial
                                                                                                         _____________________               ✔ D
                                                                                                                                             
                                                                                                                                              E/F
                                     Grand Haven, MI 49413                                                                                    G
       Michael P. Forrest


 2.6                                 Michael P. Forrest
                                                                                                         Wells Fargo Financial
                                                                                                         _____________________               ✔ D
                                                                                                                                             
                                     12761 152nd Avenue
                                                                                                                                              E/F
                                     Grand Haven, MI 49413                                                                                    G
       Michael P. Forrest




Official Form 206H                                               Schedule H: Codebtors                                                                    3
                                                                                                                                               page 1 of ___
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               Forrest Concrete, LLC                 Document     Page 43 of 70
Debtor         _______________________________________________________                Case number (if known)_____________________________________
               Name




            Addit iona l Pa ge if De bt or Ha s M ore Code bt ors


           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                   Column 2: Creditor

                                                                                                                             Check all schedules
            Name                   Mailing address                                           Name
                                                                                                                             that apply:

   7
 2.___    Michael P. Forrest     Michael P. Forrest                                          Wells Fargo Financial
                                                                                                                              ✔ D
                                                                                                                              
                                 12761 152nd Avenue                                                                            E/F
                                 Grand Haven, MI 49413                                                                         G




   8
 2.___    Michael P. Forrest     Michael P. Forrest                                          First Bank of Omaha
                                                                                                                               D
                                 12761 152nd Avenue                                                                           ✔ E/F
                                                                                                                              
                                 Grand Haven, MI 49413                                                                         G




   9
 2.___    Michael P. Forrest     Michael P. Forrest                                          First Bank of Omaha               D
                                 12761 152nd Avenue                                                                           ✔ E/F
                                                                                                                              
                                 Grand Haven, MI 49413                                                                         G




   10
 2.___    Michael P. Forrest     Michael P. Forrest                                          First Bank of Omaha
                                                                                                                               D
                                 12761 152nd Avenue                                                                           ✔ E/F
                                                                                                                              
                                 Grand Haven, MI 49413                                                                         G




   11
 2.___    Michael P. Forrest     Michael P. Forrest                                          Truist Card Services              D
                                 12761 152nd Avenue                                                                           ✔ E/F
                                                                                                                              
                                 Grand Haven, MI 49413                                                                         G




   12
 2.___    Michael P. Forrest     Michael P. Forrest                                          US Bank                           D
                                 12761 152nd Avenue                                                                           ✔ E/F
                                                                                                                              
                                 Grand Haven, MI 49413                                                                         G




   13
 2.___    Michael P. Forrest     Michael P. Forrest                                          SRM Concrete
                                                                                                                               D
                                 12761 152nd Avenue                                                                           ✔ E/F
                                                                                                                              
                                 Grand Haven, MI 49413                                                                         G




   14
 2.___
          Michael P. Forrest     Michael P. Forrest                                          Knights Ready Mix                 D
                                 12761 152nd Avenue                                                                           ✔ E/F
                                                                                                                              
                                 Grand Haven, MI 49413                                                                         G




 Official Form 206H                                     Schedule H: Codebtors                                                    page ___
                                                                                                                                       2 of ___
                                                                                                                                             3
             Case 23-01171-eg             Doc 1      Filed 04/24/23 Entered 04/24/23 10:01:45                         Desc Main
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Debtor         _______________________________________________________                Case number (if known)_____________________________________
               Name




            Addit iona l Pa ge if De bt or Ha s M ore Code bt ors


           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                   Column 2: Creditor

                                                                                                                             Check all schedules
            Name                   Mailing address                                           Name
                                                                                                                             that apply:

   15
 2.___    Teresa Forrest         Teresa Forrest                                              Dorsey Tire Company
                                                                                                                               D
                                 12 Charles Cross Way                                                                         ✔ E/F
                                                                                                                              
                                 Unit 5218                                                                                     G
                                 Bluffton, SC 29910


   16
 2.___    Michael P. Forrest     Michael P. Forrest                                          SC Department of
                                                                                                                               D
                                 12761 152nd Avenue                                          Revenue                          ✔ E/F
                                                                                                                              
                                 Grand Haven, MI 49413                                                                         G




   17
 2.___    Michael J. Forrest     Michael J. Forrest                                          Internal Revenue                  D
                                 361 NE 26th Street                                          Service                          ✔ E/F
                                                                                                                              
                                 Pompano Beach, FL 33064                                                                       G




   18
 2.___    Michael P. Forrest     Michael P. Forrest                                          Espy Lumber Company
                                                                                                                               D
                                 12761 152nd Avenue                                                                           ✔ E/F
                                                                                                                              
                                 Grand Haven, MI 49413                                                                         G




   19
 2.___    Michael P. Forrest     Michael P. Forrest                                          Funding Metrics LLC              ✔ D
                                                                                                                              
                                 12761 152nd Avenue                                          DBA Lendini                       E/F
                                 Grand Haven, MI 49413                                                                         G




   20
 2.___    Michael P. Forrest     Michael P. Forrest                                          RDM Capital Funding              ✔ D
                                                                                                                              
                                 12761 152nd Avenue                                          LLC DBA FinTap                    E/F
                                 Grand Haven, MI 49413                                                                         G




   21
 2.___    Michael P. Forrest     Michael P. Forrest                                          Internal Revenue
                                                                                                                               D
                                 12761 152nd Avenue                                          Service                          ✔ E/F
                                                                                                                              
                                 Grand Haven, MI 49413                                                                         G




 2.___
                                                                                                                               D
                                                                                                                               E/F
                                                                                                                               G




 Official Form 206H                                     Schedule H: Codebtors                                                    page ___
                                                                                                                                       3 of ___
                                                                                                                                             3
            Case 23-01171-eg                  Doc 1        Filed 04/24/23 Entered 04/24/23 10:01:45                                Desc Main
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Fill in this information to identify the case:
             Forrest Concrete, LLC
Debtor name __________________________________________________________________

                                        ______________________
United States Bankruptcy Court for the: District of South Carolina District of _________
                                                                              (State)
Case number (If known):   _________________________                                               ___________________________________________



                                                                                                                                       Check if this is an
                                                                                                                                          amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                     04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

        None

            Identify the beginning and ending dates of the debtor’s fiscal year, which         Sources of revenue                   Gross revenue
            may be a calendar year                                                             Check all that apply                 (before deductions and
                                                                                                                                    exclusions)

           From the beginning of the                                                            Operating a business                           306,286.76
           fiscal year to filing date:           01/01/2023
                                           From ___________         to     Filing date          Other                               $_____________________
                                                  MM / DD / YYYY


           For prior year:                       01/01/2022
                                           From ___________         to     12/31/2022
                                                                           ___________          Operating a business                         1,699,473.00
                                                                                                                                     $_____________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                Other
           For the year before that:             01/01/2021
                                           From ___________         to     12/31/2021
                                                                           ___________          Operating a business                         5,890,096.00
                                                  MM / DD / YYYY            MM / DD / YYYY                                           $_____________________
                                                                                                Other


 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

        None

                                                                                               Description of sources of revenue    Gross revenue from each
                                                                                                                                    source
                                                                                                                                    (before deductions and
                                                                                                                                    exclusions)

           From the beginning of the                                                                                                               0.00
                                                                                              ___________________________           $__________________
           fiscal year to filing date: From 01/01/2023
                                            ___________             to      Filing date
                                                  MM / DD / YYYY



           For prior year:                 From 01/01/2022
                                                ___________         to      12/31/2022
                                                                            ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   Sale of 2 Vehicles
                                                                                               ___________________________                     54,632.00
                                                                                                                                    $__________________



           For the year before that:       From 01/01/2021
                                                ___________         to      12/31/2021
                                                                            ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________                          0.00
                                                                                                                                    $__________________




 Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 1
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                 Forrest Concrete, LLC
Debtor           _______________________________________________________                       Case number (if known)_____________________________________
                 Name




 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be
    adjusted on 4/01/23 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None

             Creditor’s name and address                       Dates          Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.
                                                        03/03/2023
              Knights Ready Mix
             __________________________________________ 02/13/2023            $_________________
                                                                               14,546.72                         Secured debt
             Creditor’s name
              PO Box 3408
                                                        02/07/2023                                               Unsecured loan repayments
              Summerville, SC 29484                                                                         
                                                                                                            ✔     Suppliers or vendors

                                                                                                                 Services

                                                                                                                 Other _______________________________


     3.2.

              Low Country Pavers
                                                            04/07/2023
                                                                              $_________________
                                                                               13,063.88                         Secured debt
             __________________________________________ 04/18/2023
             Creditor’s name                                                                                     Unsecured loan repayments
              PO Box 485
              Hardeeville, SC 29927                                                                         
                                                                                                            ✔     Suppliers or vendors

                                                                                                                 Services

                                                                                                                 Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their
    relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing
    agent of the debtor. 11 U.S.C. § 101(31).

           None

             Insider’s name and address                        Dates          Total amount or value        Reasons for payment or transfer
     4.1.
             Mackinlay Way
             __________________________________________  _________
                                                        03/2022                36,958.83
                                                                             $__________________
             Insider’s name
                                                                                                          Rent/Mortgage Payments
                                                            _________
                                                           03/2023

                                                             _________


             Relationship to debtor
              Insider/Sister Company
             __________________________________________



     4.2.    __________________________________________
             Insider’s name
                                                             _________       $__________________

                                                             _________

                                                             _________




             Relationship to debtor

             __________________________________________



Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 2
              Case 23-01171-eg               Doc 1       Filed 04/24/23 Entered 04/24/23 10:01:45                                  Desc Main
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                 Forrest Concrete, LLC
Debtor           _______________________________________________________                           Case number (if known)_____________________________________
                 Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     None
    ✔
            Creditor’s name and address                        Description of the property                                Date                Value of property
     5.1.

            __________________________________________                                                                    ______________      $___________
            Creditor’s name




     5.2.
            __________________________________________
            Creditor’s name                                                                                               _______________       $___________




 6. Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     None
    ✔
             Creditor’s name and address                          Description of the action creditor took                 Date action was        Amount
                                                                                                                          taken

             __________________________________________                                                                  _______________      $___________
             Creditor’s name




                                                                Last 4 digits of account number: XXXX– ________


  Part 3:       Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

           None
             Case title                              Nature of case                           Court or agency’s name and address               Status of case
            Epsy Lumber Company, Inc. vs.                                                    Beaufort County Magistrate's Court (Bluffton)
     7.1.   Forrest Concrete, LLC, et al.            Collection of Debt/Failure to                                                             
                                                                                                                                               ✔   Pending
                                                     Pay
                                                                                                                                                  On appeal

             Case number                                                                     4819 Bluffton Parkway                                Concluded
                                                                                             Bluffton, SC 29910-0840
      2023CV0710300176
             _________________________________

             Case title                                                                       Court or agency’s name and address
            First National Bank of Omaha vs.                                                 Jasper County Court of Common Pleas               
                                                                                                                                               ✔   Pending
     7.2.
            Forrest Concrete, LLC and Michael                                                                                                     On appeal
            Forrest
             Case number
                                                                                                                                                  Concluded
                                                     Collection of Debt/Failure to Pay       265 Russell Street
                                                                                             Ridgeland, SC 29936
      2023CP2700067
             _________________________________


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 3
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                 Forrest Concrete, LLC
Debtor           _______________________________________________________                            Case number (if known)_____________________________________
                 Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     None
    ✔
             Custodian’s name and address                        Description of the property                        Value

             __________________________________________          ______________________________________             $_____________
             Custodian’s name
                                                                 Case title                                         Court name and address

                                                                 ______________________________________           __________________________________________
                                                                                                                  Name
                                                                 Case number


                                                                 ______________________________________
                                                                 Date of order or assignment

                                                                 ______________________________________

 Part 4:        Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     None
    ✔
             Recipient’s name and address                        Description of the gifts or contributions                   Dates given           Value


     9.1.
            __________________________________________                                                                       _________________   $__________
            Recipient’s name


                                                                                                                             _________________   $__________




             Recipient’s relationship to debtor
             __________________________________________


            __________________________________________                                                                       _________________   $__________
     9.2. Recipient’s name



                                                                                                                             _________________    $__________




             Recipient’s relationship to debtor
             __________________________________________


 Part 5:        Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     None
    ✔
             Description of the property lost and how the loss   Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                            If you have received payments to cover the loss, for                            lost
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.
                                                                 List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                 Assets – Real and Personal Property).


                                                                 ___________________________________________                 _________________   $__________



Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 4
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                Forrest Concrete, LLC
Debtor         _______________________________________________________                            Case number (if known)_____________________________________
               Name




 Part 6:      Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

          None

            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value

            McCarthy, Reynolds, & Penn, LLC
            __________________________________________
   11.1.                                                                                                                 03/2023
                                                                                                                         ______________      $_________
                                                                                                                                               20,000.00
            Address

            1517 Laurel Street
            Columbia, SC 29201




            Email or website address
            _________________________________

            Who made the payment, if not debtor?


            __________________________________________


            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value


   11.2.    __________________________________________
                                                                                                                         ______________      $_________
            Address




            Email or website address


            __________________________________________


            Who made the payment, if not debtor?

            __________________________________________

 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     
     ✔     None

            Name of trust or device                           Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


            __________________________________________                                                                    ______________      $_________

            Trustee

            __________________________________________




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 5
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                Forrest Concrete, LLC
Debtor         _______________________________________________________                           Case number (if known)_____________________________________
               Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


     
     ✔     None

            Who received transfer?                             Description of property transferred or payments received   Date transfer       Total amount or
                                                               or debts paid in exchange                                  was made            value



   13.1.    __________________________________________                                                                    ________________     $_________

            Address




            Relationship to debtor

            __________________________________________




            Who received transfer?                                                                                        ________________     $_________

   13.2.    __________________________________________

            Address




            Relationship to debtor

            __________________________________________



 Part 7:      Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

      Does not apply
     ✔
            Address                                                                                             Dates of occupancy


   14.1.                                                                                                       From       ____________       To   ____________




   14.2.                                                                                                       From       ____________       To   ____________




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                 Forrest Concrete, LLC
Debtor           _______________________________________________________                           Case number (if known)_____________________________________
                 Name




 Part 8:         Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

     
     ✔     No. Go to Part 9.
          Yes. Fill in the information below.
            Facility name and address                        Nature of the business operation, including type of services the              If debtor provides meals
                                                             debtor provides                                                               and housing, number of
                                                                                                                                           patients in debtor’s care

   15.1.    ________________________________________                                                                                       ____________________
            Facility name


                                                             Location where patient records are maintained (if different from facility
                                                             address). If electronic, identify any service provider.                       How are records kept?


                                                                                                                                           Check all that apply:

                                                                                                                                              Electronically
                                                                                                                                              Paper

                                                             Nature of the business operation, including type of services the              If debtor provides meals
            Facility name and address                        debtor provides                                                               and housing, number of
                                                                                                                                           patients in debtor’s care

   15.2.                                                                                                                                   ____________________
            ________________________________________
            Facility name


                                                             Location where patient records are maintained (if different from facility     How are records kept?
                                                             address). If electronic, identify any service provider.

                                                                                                                                           Check all that apply:
                                                                                                                                            Electronically
                                                                                                                                           Paper

 Part 9:         Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

     
     ✔     No.
          Yes. State the nature of the information collected and retained. ___________________________________________________________________
                 Does the debtor have a privacy policy about that information?
                 
                    No
                    Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

     
     ✔     No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?
                    No. Go to Part 10.
                    Yes. Fill in below:
                        Name of plan                                                                           Employer identification number of the plan

                        _______________________________________________________________________                EIN: ___________________________________

                     Has the plan been terminated?
                           No
                           Yes



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Debtor            Forrest Concrete, LLC
                  _______________________________________________________                         Case number (if known)_____________________________________
                  Name




 Part 10:         Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

          None
            Financial institution name and address         Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.     Coastal State Bank
             ______________________________________        XXXX–__________
                                                                9063                       
                                                                                           ✔ Checking                  10/22/2022
                                                                                                                       ___________________      $__________
                                                                                                                                                  0.00
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

   18.2.     Coastal States Bank
             ______________________________________        XXXX–__________
                                                                0232                       
                                                                                           ✔ Checking                  11/30/2022
                                                                                                                       ___________________      $__________
                                                                                                                                                  0.00
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

     
     ✔     None

              Depository institution name and address      Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

             ______________________________________                                                                                                     No
            Name                                                                                                                                        Yes



                                                           Address




20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

    
    ✔      None

              Facility name and address                    Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                                                                                                                       No
             ______________________________________
            Name
                                                                                                                                                       Yes



                                                            Address




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              Forrest Concrete, LLC
Debtor        _______________________________________________________                          Case number (if known)_____________________________________
              Name




 Part 11:       Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

     
     ✔   None

          Owner’s name and address                       Location of the property                   Description of the property                    Value

                                                                                                                                                  $_________
          ______________________________________
          Name




 Part 12:       Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     
     ✔   No
        Yes. Provide details below.
          Case title                                 Court or agency name and address               Nature of the case                        Status of case

          _________________________________                                                                                                       Pending
                                                      _____________________________________
          Case number                                 Name                                                                                        On appeal

          _________________________________                                                                                                       Concluded




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     
     ✔   No
        Yes. Provide details below.

         Site name and address                        Governmental unit name and address            Environmental law, if known              Date of notice


          __________________________________         _____________________________________                                                    __________
          Name                                       Name




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                Forrest Concrete, LLC
Debtor          _______________________________________________________                      Case number (if known)_____________________________________
                Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     
     ✔     No
          Yes. Provide details below.

           Site name and address                     Governmental unit name and address           Environmental law, if known                Date of notice


            __________________________________      ______________________________________                                                     __________
            Name                                    Name




 Part 13:          Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

     
     ✔     None


            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
   25.1.    __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
   25.2.                                                                                                   Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
            __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

   25.3.                                                                                                   EIN: ________________________
            __________________________________
            Name
                                                                                                           Dates business existed




                                                                                                           From ___________              To ____________




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Debtor            _______________________________________________________                        Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List    all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                 None
              Name and address                                                                                Dates of service


              Teresa Forrest                                                                                  From 04/01/2021
                                                                                                                   _______
   26a.1.     __________________________________________________________________________________
              Name
              12 Charles Cross Way, Unit 5218, Bluffton, SC 29910                                             To _______




              Name and address                                                                                Dates of service

              Lora Lewis                                                                                      From 10/01/2019
                                                                                                                   _______
   26a.2.     __________________________________________________________________________________
              Name
              c/o Camille Graham Correction Center, 4450 Broad River Rd., Columbia, SC 29210                    04/01/2021
                                                                                                             To _______




     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
                 None

                    Name and address                                                                          Dates of service

                                                                                                                   05/01/2007
                    Pamela June                                                                               From _______
         26b.1.     ______________________________________________________________________________
                    Name                                                                                         12/31/2021
                    99 Main Street, Hilton Head Island, SC 29926                                              To _______




                                                                                                              Dates of service
                    Name and address

                                                                                                              From _______
         26b.2.
                    ______________________________________________________________________________
                    Name                                                                                      To _______




     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
            
            ✔     None
                    Name and address                                                                          If any books of account and records are
                                                                                                              unavailable, explain why


         26c.1.     ______________________________________________________________________________
                    Name




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                    Forrest Concrete, LLC
Debtor              _______________________________________________________                     Case number (if known)_____________________________________
                    Name




                     Name and address                                                                        If any books of account and records are
                                                                                                             unavailable, explain why


           26c.2.    ______________________________________________________________________________
                     Name




     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

              
              ✔     None

                     Name and address


           26d.1.    ______________________________________________________________________________
                     Name




                     Name and address



           26d.2.    ______________________________________________________________________________
                     Name




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     
     ✔      No
           Yes. Give the details about the two most recent inventories.



               Name of the person who supervised the taking of the inventory                    Date of       The dollar amount and basis (cost, market, or
                                                                                                inventory     other basis) of each inventory


              ______________________________________________________________________           _______       $___________________

               Name and address of the person who has possession of inventory records


   27.1.       ______________________________________________________________________
              Name




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                Forrest Concrete, LLC
Debtor          _______________________________________________________                        Case number (if known)_____________________________________
                Name




            Name of the person who supervised the taking of the inventory                     Date of          The dollar amount and basis (cost, market, or
                                                                                              inventory        other basis) of each inventory

            ______________________________________________________________________            _______         $___________________

            Name and address of the person who has possession of inventory records


   27.2.    ______________________________________________________________________
            Name




 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.
   Name                                      Address                                                 Position and nature of any interest       % of interest, if any
 Michael P. Forrest                          12761 152nd Avenue, Grand Haven, MI 49417               Managing Member                          100.00




 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
     No
     
     ✔     Yes. Identify below.
   Name                                                                                                 Position and nature of any    Period during which position
                                                Address                                                 interest                      or interest was held
 Michael J. Forrest                            361 NE 26th Street, Pompano Beach, FL 33064              Operations Manager
                                                                                                                                       _________ To _________
                                                                                                                                      12/01/2020    07/23/2022


                                                                                                                                       _________ To _________


                                                                                                                                       _________ To _________


                                                                                                                                       _________ To _________

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
     
     ✔     No
          Yes. Identify below.
                                                                                     Amount of money or description      Dates                Reason for providing
            Name and address of recipient                                            and value of property                                    the value

   30.1.    ______________________________________________________________            _________________________          _____________
            Name


                                                                                                                         _____________


                                                                                                                         _____________

            Relationship to debtor                                                                                       _____________

            ______________________________________________________________                                               _____________
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                   Forrest Concrete, LLC
Debtor             _______________________________________________________                          Case number (if known)_____________________________________
                   Name




              Name and address of recipient
                                                                                            __________________________     _____________

   30.2       ______________________________________________________________
              Name                                                                                                         _____________

                                                                                                                           _____________



                                                                                                                           _____________


              Relationship to debtor                                                                                       _____________

              ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     
     ✔       No
            Yes. Identify below.
              Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                          corporation

              ______________________________________________________________                             EIN: ____________________________



 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     
     ✔       No
            Yes. Identify below.

              Name of the pension fund                                                                    Employer Identification number of the pension fund

              ______________________________________________________________                             EIN: ____________________________



 Part 14:            Signature and Declaration


             WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
             connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
             18 U.S.C. §§ 152, 1341, 1519, and 3571.

             I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
             is true and correct.

             I declare under penalty of perjury that the foregoing is true and correct.

             Executed on       04/24/2023
                               _________________
                                MM / DD / YYYY



              /s/ Michael P. Forrest
              ___________________________________________________________                              Michael P. Forrest
                                                                                          Printed name _________________________________________________
              Signature of individual signing on behalf of the debtor

                                                 Managing Member
              Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
             No
         
         ✔    Yes




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 Debtor Name                                                                      Case number (if known)



                                           Continuation Sheet for Official Form 207
3) Certain payments or transfers to creditors within 90 days before filing this case

Tropical Trash, PO Box                 $8,031.55                               Suppliers or vendors
22468, Hilton Head
Island, SC 29925

River Road Ready Mix                   $16,118.72                              Suppliers or vendors
Products, Inc., PO Box
830525 Dept R52,
Birmingham, AL 35283-0525

Colleton Tile and                      $27,021.60                              Suppliers or vendors
Concrete, Inc., PO Box
319, Walterboro, SC 29488


7) Legal Actions

First National Bank of Omaha vs. Forrest Concrete, LLC and Michael Forrest

2023CP2700068

Collection of Debt/Failure to Pay

Jasper County Court of Common Pleas

265 Russell Street, Ridgeland, SC 29936

Pending

-------

First National Bank of Omaha vs. Forrest Concrete, LLC and Michael Forrest

2023CP2700066

Collection of Debt/Failure to Pay

Jasper County Court of Common Pleas

265 Russell Street, Ridgeland, SC 29936

Pending

-------

Smyrna Ready Mix Concrete, LLC vs. Forrest Concrete, LLC and Michael Forrest

2022CP2700542

Motion/Default Judgment

Jasper County Court of Common Pleas

265 Russell Street, Ridgeland, SC 29936

Pending

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  Official Form 207                       Statement of Financial Affairs for Non-Individuals
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Debtor Name                                                                      Case number (if known)



                                         Continuation Sheet for Official Form 207




 Official Form 207                       Statement of Financial Affairs for Non-Individuals
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 Fill in this information to identify the case and this filing:

              Forrest Concrete, LLC
 Debtor Name __________________________________________________________________

                                         District of South Carolina
 United States Bankruptcy Court for the: ________________________________

 Case number (If known):    _________________________




Official Form 202
De c la ra t ion U nde r Pe na lt y of Pe rjury for N on-I ndividua l De bt ors                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            De c la ra t ion a nd signa t ure



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         ✔    Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         ✔    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         ✔    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         
         ✔    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         
         ✔    Schedule H: Codebtors (Official Form 206H)

         
         ✔    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


         
         ✔    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    04/24/2023
        Executed on ______________                          /s/ Michael P. Forrest
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  Michael P. Forrest
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  Managing Member
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                               United States Bankruptcy Court
                               District of South Carolina




         Forrest Concrete, LLC
In re:                                                           Case No.

                                                                 Chapter    11
                     Debtor(s)




                               Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              04/24/2023                          /s/ Michael P. Forrest
Date:
                                                  Signature of Individual signing on behalf of debtor

                                                  Managing Member
                                                  Position or relationship to debtor
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Advanced Auto Parts                                   Colonial Fuel and Lubricant Services, Inc.
PO Box 742063                                         PO Box 576
Atlanta, GA 30374                                     Savannah, GA 31415

AGA for Advanced Auto                                 Complete Network
740 Walt Whitman Road                                 14 Corporate Woods Blvd.
Melville, NY 11747                                    Suite 217
                                                      Albany, NY 12211
Allied Concrete Forming
4413 Republic CT NW                                   Contractors Depot
Concord, NC 28027                                     9 Telfair Place Unit F
                                                      Savannah , GA 31415
Ally Financial
Ally Detroit Center                                   Dorsey Tire Company
500 Woodward Avenue                                   PO Box 1387
Detroit, MI 48226                                     Savannah, GA

Ally Financial                                        Epsy Lumber Company, Inc.
PO Box 380902                                         c/o Ehrick K. Haight, Jr.
Bloomington, MN 55438                                 PO Drawer 6067
                                                      Hilton Head Island, SC 29938
Altus Receivable Manager for BP Mastercard
PO Box 1389                                           Espy Lumber Company
Kenner, LA 70063-1389                                 3785 Argent Blvd.
                                                      Ridgeland, SC 29936
Andre Nash
843 Rocking Horse Lane                                Extended Stay of America
Bluffton, SC 29910                                    PO Box 49289
                                                      Charlotte, NC 28277
Bobcat
PO Box 2250                                           Federico Paramo-Mercado
Decatur, AL 35609                                     65 Bufflehead Lane
                                                      Bluffton, SC 29910
BP Business Solutions
PO Box 1239                                           First Bank of Omaha
Covington, LA 70434                                   PO Box 3331
                                                      Omaha, NE 68103
Bridgefield/Summit Insurance
PO Box 32034                                          First National Bank of Omaha
Lakeland, FL 33802                                    c/o Jennifer L. DeMarco, Esq.
                                                      PO Box 287
Brundage Bone Concrete Pumping                        Columbia, SC 29202
PO Box 7767
Charlotte, NC 28241                                   First National Bank of Omaha
                                                      c/o S. Elias Fain, Esq.
Building Point Southeast                              PO Box 287
PO Box 30666                                          Columbia, SC 29202
Charlotte, NC 28230
                                                      FleetCor Fuelman
Caine & Weiner for Extended Stay America              PO Box 1239
PO Box 55848                                          Covington, LA 70434
Sherman Oaks, CA 91413
                                                      FleetCor Fuelman
Clarkson and Hale, LLC                                c/o John C. Williams & Associates
PO Box 287                                            1612 Northeast Expressway
1044 Wildwood Center Drive                            Atlanta, GA 30329
Columbia, SC 29202
                                                      Ford Credit
Colleton Tile and Concrete, Inc.                      9930 Federal Drive
PO Box 319                                            Colorado Springs, CO 80921
Walterboro, SC 29488
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Ford Credit c/o National Bankruptcy Service              Law Office of Mark A. Kirkorsky
PO Box 62180                                             1119 W. Southern Avenue
Colorado Springs, CO 80962                               Suite 200
                                                         Mesa, AZ 85210
Funding Metrics LLC DBA Lendini
3220 Tillman Drive                                       Lee Wittenberg Harritt Hoefer & Davis, PA
Suite 200                                                207 N. Washington Street
Bensalem, PA 19020                                       PO Box 730
                                                         Sumter, SC 29151
Gaster Lumber & Hardware
3051 Plantation Drive                                    Levy, Diamond, Bello & Associates
Hardeville, SC 29927                                     PO Box 352
                                                         Milford, CT 06460-0352
Grayco
PO Box 1048                                              Low Country Pavers
Beaufort, SC 29901                                       PO Box 485
                                                         Hardeeville, SC 29927
Great American Finance
408 E Main Street Bldg. #1                               Mackinlay Way, LLC
Suite 6                                                  c/o Michael P. Forrest
Marshall, MN 56258                                       12761 152nd Avenue
                                                         Grand Haven, MI 49413
HD Supply
PO Box 4852                                              Marisa Goodrich
Orlando, FL 32802                                        5 Charles Cross Way
                                                         No. 7219
Herc Rentals                                             Bluffton, SC 29910
27500 Riverview Center Blvd.
Bonita Springs, FL 34134                                 McCorkle, Johnson & McCoy, LLP
                                                         319 Tattnall Street
Heyden Supply LLC                                        Savannah, GA 31401
375 James Rd.
Alpharetta, GA 30004                                     Michael J. Forrest
                                                         361 NE 26th Street
Internal Revenue Service                                 Pompano Beach, FL 33064
Centralized Insolvency Operation
PO Box 7346                                              Michael P. Forrest
Philadelphia, PA 19101-7346                              12761 152nd Avenue
                                                         Grand Haven, MI 49413
Internal Revenue Service
Centralized Insolvency Operations                        Minor, Haight & Arubdell, PC
2970 Market Street, Mail Stop 5-Q30 133                  1000 William Hilton Parkway
Philadelphia, PA 19104                                   Suite 203
                                                         Hilton Head Island, SC 29938
Jasper County Treasurer
Attn: Verna Garvin                                       Mobile Modular Portable Storage
358 3rd Avenue                                           5700 Las Positas Rd.
Ridgeland, SC 29936                                      Livermore, CA 94551

John L. Forrest                                          Murray Sand Company, Inc.
12309 Bells Highway                                      145 Checkerboard Rd.
Ruffin, SC 29475                                         Summerville, SC 29483

June & Associates, CPA                                   Palmetto Security Systems
99 Main Street                                           172 Mead Rd. Ste B
Hilton Head Island, SC 29926                             Hardeville, SC 29927

Knights Ready Mix                                        Palmetto State Bank
PO Box 3408                                              194 Bluffton Rd.,
Summerville, SC 29484                                    Bluffton, SC 29910
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PIRS Capital                                          Southern Rebar & Suppliers
1688 Meridan Avenue                                   4615 Coster Rd.
Suite 700                                             Knoxville, TN 37912
Miami Beach, FL 33139
                                                      SRM Concrete
Platinum Materials                                    1000 Hollingshead Circle
365 Langston Chapel Rd.                               Murfreesboro, TN 37129
Statesboro, GA 30458
                                                      Superior Heating & Air
Pro Contractor Supply                                 36 Persimmons Rd.
3917 Old Flowery Branch Rd.                           Suite 202
Oakwood, GA 30556                                     Bluffton, SC 29910

Pucin & Friedland                                     Sweet Gravy Trucking
935 National Parkway                                  PO Box 7057
Suite 40                                              Savannah, GA 31418
Schaumburg, IL 60173
                                                      TEG Enterprises, Inc.
RDM Capital Funding LLC DBA FinTap                    107 Gass Drive
777 Passaic Avenue                                    Greeneville, TN 37745
Suite 375
Cliffton, NJ 07012                                    Teresa Forrest
                                                      12 Charles Cross Way
Ricoh USA C/O Wells Fargo Vendor Financial Se         Unit 5218
PO Box 740540                                         Bluffton, SC 29910
Atlanta , GA 30374
                                                      Tropical Trash
River Road Ready Mix Products, Inc.                   PO Box 22468
PO Box 830525                                         Hilton Head Island, SC 29925
Dept R52
Birmingham, AL 35283-0525                             Truist Card Services
                                                      PO Box 4986
Robert Trotter                                        Orlando, FL 32802
104 Central 7th Street
Santa Rosa Beach, FL 32459                            U.S. Securities and Exchange Comm
                                                      Office of Reorganization
Rosco                                                 950 East Paces Ferry Rd., N.E. Ste 900
98 Riverwalk Blvd.                                    Atlanta, GA 30326-1382
Ridgeland, SC 29936
                                                      US Bank
SC Department of Revenue                              PO Box 790408
Office of General Counsel                             St. Louis, MO 63179
300A Outlet Pointe Boulevard
Columbia, SC 29210                                    VeriCore
                                                      10115 Kincey Avenue
SC DEW                                                Suite 100
P.O. Box 995                                          Huntersville, NC 28078
Columbia, SC 29202-0995
                                                      Verizon
Selective Insurance                                   One Verizon Way
40 Wantage Avenue                                     Mail Code:180WVB
Branchville, NJ 07890                                 Basking Ridge, NJ 07920

Skufca Law PLLC                                       Waste Management Services
1514 S. Church Street                                 PO Box 43290
Suite 101                                             Phoenix, AZ 85080
Charlotte, NC 28203
                                                      Wells Fargo Financial
Smyrna Ready Mix Concrete, LLC                        420 Montgomery Street
c/o Matthew M. McCoy, Esq.                            San Francisco, CA 94104
319 Tattnall Street
Savannah, GA 31401
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Williams, Buyck & Williams
PO Box 1909
Florence, SC 29503

World Diamond Source
2987 Center Port Circle
Suite 4 & 5
Pompano Beach, FL 33064
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                                      United States Bankruptcy Court
                                                               District of South Carolina
                                               __________________________________
     In re   Forrest Concrete, LLC

                                                                                                             Case No. _______________

    Debtor                                                                                                            11
                                                                                                              Chapter________________

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

    FLAT FEE
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
✔    RETAINER
                                                                                                                         20,000.00
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                         375.00
          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)

    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
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      d. [Other provisions as needed]
Above is retainer only. Fees billed hourly as outlined in Application to Employ to be filed at a future date.




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
1) Adversary proceedings in the Bankruptcy Court; (2) Lawsuits or other legal proceedings before any other court or tribunal; (3) Appeals; and (4)
Matters involving material facts not disclosed at the time the Retainer Agreement was executed.
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                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for
          payment to me for representation of the debtor(s) in this bankruptcy proceeding.

       04/24/2023                       /s/ W. Harrison Penn, District Ct. ID #11164
     _____________________             _________________________________________
     Date                                    Signature of Attorney
                                        McCarthy, Reynolds, & Penn, LLC
                                       _________________________________________
                                           ​Name of law firm
                                        1517 Laurel Street
                                        PO Box 11332 (29211)
                                        Columbia, SC 29201
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                                          United States Bankruptcy Court
IN RE:                                                                Case No.__________________
Forrest Concrete, LLC                                                           11
__________________________________________________________ Chapter __________________

                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Michael P. Forrest                                          100.00                  Managing member
 12761 152nd Avenue, Grand Haven, MI 49417
